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SL.FPREi\/H§ C.`OURT ()1" '11'[1§- S_i`z’\'l`i§ OF Ni",W Y()RK
C`OUNTY Oi"` NL",W YORK
________________________________________________________________________ >(
in the z\/iztitcr ofthc ./\ppliczition of '
;\/H'ZRYL BRUDSKY` i\/IARK FEENSOT. and EI..ECT

T\/iFRYl_, RRODSKY T{} C`l'l"{ C(ji_il\§(`_`l[. 2005_
index No. 118316/06

P\_‘titit)ncrs.
RESTRAINING NOTICF,-

V.
Ni`iW \'ORK Ci'i`Y C,`.-"\i\/H’AIGN FINi-\NCE BOARD`.

Rc§pondcnt/Judgmcnt Cx'edit<)r. :
_______________________________________________________________________ §§

RE: :;\~'Ieryi Brod$ky
'1`1»11~1 PEC>PI_E 01~` THP, STATE ()l~` NEW YORK

`1`0: -_\»'101'}-"1 Brodsky :\dcircss: 150 Eii§t -61'“ Strect. .’+"11K
N€W Yori<. New York 10021

CjREETINGS:

\‘v’iIEREi~\S. in the above entitled action between P'ctitioners Meryl Brodsky, Mzti‘k.
i`~"cinsot. and filed Mcryi Brodsi<.y to City Councii 2005 (`tne "Cornmittee"') (coil@ctivel§z
"1’ctiti0nc:i'5"1 and Respondcnt ;\Ie\-\~' Yori\' City Campaign i"`inz=.nce B<)ard (the "Board""), a
judgment was entered in the Si_ipi'eme Court Ot`the Stztte ot`NeW Yori<_ New Yorl< Cc)unty`
on ,-»\ugust 31. 2009 in favor 0 t` the Board. judgment creditor, and against Petitioners_
inciuding .\"wr}~'i Brodsi\'_\' (_"Brodsky"). judgment debtor, in the aggregate amount of

9335.850. c)i"\>\'hich 31 1.875 remains due and unpaid

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.\1()\’»”1`.'\1{1",N()'l`l(`l".. that pursuant to Cl’l.l{ \` 32 22(b) a copy otwhi<_h1set

t`orth below you arc hereby l`orbidden to make or sut"t`er any sale, assignment, or transfer
ol`, or tiny interl`ercnce \\-'ith. anyl property ol` the judgment debtor or pay over or otherwise
dispose ot` any debt to the judgment debtor to any person other than the slierift`, except
under direction ol` the sheril`t` or pursuant to order ol`tlie court, until the expiration ol` one
_\'c;ir utter this notice is served upon _\'ou. or until the judgment is satist'ied or \-'uczitcd,

Wliiche\'er event occurs lirst:
31 C llOi\" 5222(1)`1@1 1111_' (,`"1\ lL l)R/\C 11C1~` 11-\\7\/` .\ND RULES

(b) F. ifecit of iestrziint; prohibition ot ti ansfer; tlur;\tion. -\ judgment debtor or oblig
served with a restraining notice is forbidden to make or sutter any sale, assignment
transfer or interlercnce with any propert\ in which he or she has an interest except as set
l`orth tin subdi\isionsi h_i and (i) ot` this section and e\cept upon direction ot the Sheritf or
pursuant to un order ot` the court_ until the judgment or order is satisfied or vacated X
iestiainin<v notice sei\cd upon a person other than the judgment debtor or obligor is
et"tecrivc onl\ it at the time ol seix'.ice he or she ones tr debt to the judgment debtor or
obligor or he or she is in the possession or cristod\ ot property in which he or she knows or

 

has reason to belie\e the judgment debtor or obligor has an interest or il the judgment
creditor or support collection unit has stated in the notice that a specilied debt is owed by
the person sei\ed to the judgment debtor or obligor or that the judgment debtor or obligor
has an interest in specified property in the possession or custody ot the person served All
propeit_v in which the judgment dcbtoi or obligor is known or beliet ed to have an interest
then in andl thereafter coming into the possession oi custody ot such a person. including
any specified in the notice tind all debts ol such n person including any specitied in the
notice then due and theiczilter coming due to the judgment debtor or obligor. shall be
subject to the notice except as sctt i`orth in subdivisions (h) and (i) ot this section Such a
person is forbidden to make or sul`t`er ari_\_A salc. assignment Or transfer ot`, or any
intert"erei‘ice vt ith. any such property or pay over or otherwise dispose ot` any such debt. to
any person other than the sheri l`t` or the support collection unit_ except us set forth in
subdivisions {h) and tit ot` this section, and except upon direction of the ShCrit`t`or pursuant
to an order ot` the court. until the expiration oi` one _\'ear ritter the notice is served upon him
or her. or until the judgment or order is satisfied or vacated whichever event first occurs
\ judgment creditor or support collection unit which has specified personal property or
debt in a restraining notice shall be liable to the owner ot` the property or the person to

't\ horn the debt is owed, it` other than the judgment debtor or obligor. t`or any damages
sustained by reason ot` the restraint lt`;i garnishee served with a restraining notice
withholds the payment ot`money belonging or owed to thejudgment debtor or obligor in

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an amount equal to twice the amount due on the judgment or order. the restraining notice is
not ei'i`cetive as to other propertyr or money.

(lr) li`.t`fect i)t` restraint on judgment debtor's banking institution account into which
statutorily exempt payments are made electronically or by direct deposit
Noiwithstanding the provisions ot`subdivision tb`) ol`this section, il"direct deposit or
electronic payments reasonably identifiable as statutorily exempt payments as defined in
paragraph two ot` subdivision ill ot` section tit`ty-two hundred live ot` this article \vere made
to the judgment debtors account during the tony-live day period preceding the date that
the restraining notice was served on the banking institution then the banking institution
shall not restrain two thousand live hundred dollars in the judgment debtor's account 11
the account contains an amount equal to or less than two thousand live hundred dollars._ the
account shall not be restrained and the restraining notice shall be deemed void. i\lothing in
this subdivision shall be construed to limit a banking institutions right oi' Obligzillt)n 10
restrain or remove such l`unds l`rom the judgment debtors account it` required by 42 U_S.C.
§ 659 or 38 l,l.S,C. § 5301 or b_v a court order i\lothing in this subdivision shall alter the
exempt status ot` l`unds that arc protected l`roni execution levy, attachment garnishment or
other legal process under section lilly-two hundred live ot`this article or under any other
provision ot`state or federal lang or at`t`cct the right ot`ajudgment debtor to claim such
exemption 1

{i) l§ffect oi` restraint on judgment del)tor’§ hanking_institution account A restraining
notice issued pursuant to this section shall not apply to an amount equal to or less than the
greater ot`t\vo hundred forty times the federal minimum hourly Wage prescribed iii the Fair
labor Standards ;~'\ct ot` i938 or two hundred torty times the state minimum hourly wage
prescribed in section six hundred tit`ty-t\vo ot` the labor law as in et`t`ect at the time the
earnings are payable (`as published on the Websites ot` the United Staies department ot` labor
and the state department ot` laborl except such part thereof as a court determines to be
unnecessary t`or the reasonable requirements ot`the judgment debtor and his or her
dependentsA 'l`his amount shall be equal to seventeen hundred sixteen dollars on the
et`i`eetive date ot` this subdivision and shall rise to seventeen hundred forty dollars on July
rv\'enty-lourtht t\vo thousand nine. and shall rise thereafter in tandem with the minimum
wage ;\iothing in this subdivision shall be construed to limit a banking institutions right
or obligation to restrain or remove such funds t`i'orn the judgment debtor'S account if
required by 42 t..l.S.C. § 659 or 38 U.S.C, § 530l or by a court order Where ajudgment
debtors account contains an amount equal to or less than ninety percent ot`the greater ot`
two hundred l`orty times the federal minimum hourly wage prescribed in the Fair Labor
Standards ,»\ct ot` 1938 or t\vo hundred tony times the state minimum hourly wage
prescribed in section six hundred til`ty-tivo ol`the labor law as in effect at the time the
earnings arc payable las published on the websites ofthe United States department ot` labor
and the state department ot` labor), the account shall riot be restrained and the restraining
notice shall he deemed void. except as to those t"unds that a court determines to be
unnecessary t`or the reasonable requirements ot` the judgment debtor and his or her
dependents Nothing in this subdivision shall alter the exempt status ot` t`unds which are

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exempt from execution lc\-‘y. attachment or garnishman under section lil"ly~lwo hundred
live ol`lliis airlich or under amy other provision ol`sl;itc or federal law` or llie right ol`a
judgment debtor 10 claim such exemption

`l`i-'\l\'l`;` l"l_?R'l`lll§R N(?"l`lCF,. lhal disobedience ol` this Rcstr::ining Noticc is
punishable ns a coiitoi'np'v_' ofcourl_
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Stare Supremc Cour{, ;11 '-.'lie. courthouse in llic Coumy of Nc\v Yorl< on /\ugust 3 l . 3()()9.
l`)mcd: Ncw Yoi‘l<__ Ncw‘ ‘i"oi~l<

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lili_eé G. Suh. .»\ssociat€ Gcneml Coun$el
>¢{w Y<)rl< City (_`ampalgn P`inance Board
-lO Rcclor Strect. 7m l"loor

Nc\-v Yoi'l<. New York 10006

(212) 3()()-7l()0

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SUPREME COURT OF Tl-ll_:.. STA'I`E OF NEW YORK
COUNTY OF NEW YO§.K

iiiiii:rli§{{@"§§i'{i§'@“§§§iii§§{{t§§§§ """""""""""""""""""""" ii

i\/‘iERYL BRODSKY, l\/l,-"'\RK i*`ElNSOT, and ELECT :

MERYL BRODSKY 'lO ClTY COUNClL 2005, ; lndex No. 1183i6/06
Petitioners, NOTICE

V. 1

I\EEW Y()RK Cll`Y CAMPATGN Fl'NANCE BOARD.
Respondent,/Judgment Creditor.

_______________________________________________________________________ §§

NOTlC E TO JUDGMENT DEB"l`OR OR OBLIGOR
,.\/loney or propertyy belonging to you may have been taken or held in order to satisfy
a judgment or order which has been entered against you. Read this carefully
YOU MAY BE ABLE TO GET Y=c)UK l\/IUN`EY 13 “ C}\
State and federal laws prevent certain money or property from being taken to
satisfy judgments or orders Such money or property is said to he “exempt.” The
following is a partial list oi` money which may be exempt

l. Supplementa.l security income, (SSI);

\ ~.)

Socizil securityt

L.v)

Public assistance (_‘v\"ell"are);

4. ;»\limony or child support;

\J\

Unernployment henelits:_
-:w.. Disahilit§'benelits;

7. \‘-\"orlters’ compensation l)enet`its;

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S. Public or private pensions;
9. Veterans benefits; v
lO. Ninety percent o't" your wages or salary earned in the last sixty days;

l l. Twenty~t`rve hundred dollars of any bank account containing statutorily exempt
payments that were deposited electronically or by direct deposit within the last
t`orty~liye days, includingvt but not limited to, your social sccurity, supplemental
security income, veterans benefits public assistance, worl<ers’ compensation,
unemployment insurance, public or private pensions, railroad retirement
benetits, black lung benefits, or child support payments;

l2. Railroad retiremen't; and

l3. Blac.lt lung benefits

lt you think that any ot` your money that has been taken or held is exempt, you must

act promptly because the money may be applied to the judgment or order. lt` you claim
that any of your money that has been taken or held is exempt7 you may contact the person
sending this notice

.:-\lso, YOU MAY CONSULT AN A'ITORNEY, INCIJUDB\IG Al\tY l~l{l;;.h

LEGAL SERVICES ORGANIZATION lF YOU QUAl-lFY_ You can also go to court
without an attorney to get your money bacl<, Bring this notice with you when you go. You
are allowed to try to prove to a judge that your money is exempt from collection under
Neyv York civil practice law and rules, sections fifty-two hundred twenty-tvt-'o-aF fl't`ty~two
hundred thirty-nine and titty-t\-\-'o hundred forty lt` you do not have a lawyer, the clerk of

the court may give you 't`orms to help you prove your account contains exempt money that

the creditor cannot collect 'l`he law _(New Yorl< civil practice law and rulcs, article four

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and sections tifty~two hundred thirty-nine and fiftyitwo hundred forty) provides a

procedure for determination ofa claim to an exemption

Dated: New Yorl<, New `r’orl<
luly 24, 2009

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Hillary Weisman, Deputy General Counsel
Jihee G. Suh,-"`Associate General Counsel
New York City Campaign Finance Board
40 Rector Street__ 7th Floor

New Yorl<, l\lew York 10006

(ZIZ) 306-7l 00

.lttorneysfo)' the Respondent/Judgmem
C)'edi!cr ;`\/ew Yo)'k Ct'ty Campaz'gn Fz`rzance
Board

 

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EXHIBIT D

 

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SCHEDULE 5 interest and Crdlnary Dividends -___~__~_---»--O""'S"“" ‘5‘5“°7“

(F'orm ‘IUAGA or 1040} 2009

 

 

 

 

 
 
 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Name(s) shown on return Your social security number
unan sacost<r n
Part l 1 l_isl name ot payer. lt any interest rs from a seller*flnanced mortgage and the buyer used Amount
the properly as a personal restdence, See the instructions and list this interest trrsti Also,
ig;§re$i show that buyer's social security number and address .................................
instructions for HSBC _____________________ W_A
Form 1040A, “““““““““““““““““““““““
or Form 10110. ____________________________________________ ____________c___---
line Sa.) _____________________________________________ "____M
____________________________ ,__.__.__._.__~_,__..c___- _1_*____.--_
________ ...._.___.....____.~___..._._.....,,.._.,_.=_..,..,._._..___.__..__~.__.- _,_..____»-_-_-
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receive .'\. Form ____________________________________________
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from a bro ~' ____________________________________________
firrrt, list the s
name us the payer _________________________________ "_ "' ””””””””””
and enter the initial
interest shown on _____________________________________________
:hal iorm. _____________________________________________ ~M
2 Addtheamountsonltnel,_.…_._.... ............................................ 2 m
3 Excludable interest on series EE and l U.S, savings bonds issued after 1989.
Atiach Forrn 88i5 .................................................................. 3
4 Subtrsct line 3 from line 24 Enter the result here and on Form 1040/\, or Form lU/lO, line 83 .................. * 4 §
Note. lt line 4 is over 151.500. you must complete Part l||. Amount
5 l_is\ name or payer. .. b __________ '__ _____________________ ~________*______
part n ,Pe`_’lE_R_I§P.-N_ ELE§.YBI.§_ EO_W§§S _CQ ________________________ -
Ordinary _§39§1§§2_1 _______________________ _ ______________ _______i~_
Di\/id@"d$ _C,HB.R_L§§ §§_PLVLA§ _IY_EUL§EE _________________________ ___1__._§.

we _E__T; __D.T_JBONT _ __________ ., ______________ _,___.__W

 

instructions for E_)_{§L_ON ___________________
Form io[i'OA. Or WF\XXON _____________________ .

Form 1040 -f" ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~

line 939 _G§NE_RB& §B.E_C_Y.P_\L§. ________________________________ ____g

 

 

Noie. |f you

 

received a corm THE WP&LT DI S_N_E¥ _(_:Q ______________________________ 5 n ,

    

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ordinary dividends ________________________ '_‘ '°‘ "' ’”‘ _________________

s town on that form ___________________________ __ _ ___ ______________ _____________*______N_“
__________________ _________w_”r___,__,_____~_________, ______________._.s.._
_______ ______________________1__..._________H___.__..___._T ______.____..._
_____________________________________________ __,__,___..____.»_
____________________________________________ _____,__.___»

6 Aritl the amounts orr line 5. inter lite total here and on Form lOliUA, t>r Form 1040, line 93 .................. * 6 m .
Note. lt line 615 over 31,500. vou must complete Parl lll.

part m Y~:>u must comptete this part if you(a) had over 31,500 of taxable interest or ordinary dividends; (b) had s foreign Y N

Foreign account or (c) received a distribution trom, or were a grantor of, or a transferor lo_. a foreign lrust. 35 0

Accounts

and 7a At any time during 2009, did you have an interest in or a signature or other authority over a linancial account

in a foreign country, such as a bank accountl securities account or other financial account? See instructions

 
  

 

 

 

 

Trust$ for exceptions and rilan requirements for Form TD F 90-22,1 .............................................
_(See _ b lt 'Yes.’ enter the name or the foreign country . b
lnslruclrons.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~
8 Durtno 2009, did you receive a distribution from, or were you the grantor of, or transferor to, 3 foreign lru$l?
lf ‘Yes,‘ you may have to file Form 3520. See instructions ............................................... X
BAA For Paperwork Reduction Act Notice. see Fonn iu¢lOA or 1040 instructions Fole¢.cr=_ 06/24/09 Scheclule B rForm tooo) zone

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l (Dep. at 202:2-13; Comput.ershare’s lnt`ormation Subpoena response) (_testifying that she does
not have any stock certificates even though third party agents such as Computershare have
attested that she owns stock certificates). She even testified that she did not remember whether
she has sold any stocks since Decernber 2009, when she sold her Honeywell Corporation Stock,
even though her brokerage account statements show that she sold Stocks a few weeks before the
April l deposition _S_e_e Ex, K (Dep. at 70:23»25; March 2010 Charles Schwab brokerage
account statement).

18. However, with the limited information that Brodsky has disclosed and the
information and documents from third party gamishees, the Board has ascertained that Brodsky
is able to pay the amount owed.

19. Brodsky owns over a half-million dollars worth of blue chip stocks See Ex. L
(Computershare’s lnt`orrnation Subpoena response; Dep. at75:l6-76:?.; 193:12-24; 195117-20).

After selling a portion ot` her extensive stock holdings, Brodsky recently paid approximately

 

§8,000 in legal fees to oppose the Board’s judgment enforcement efforts §§ Ex. l\/I tDep. at
111110-19;172112-13).

20. Among the largest ot`Brodsl<y’s stock holdings are overm shares of Exxon-
Mohil Corpot‘ation stock that she purchased directly from the corporation With each share
selling at approximately S64.00 as of l\/lay ll, 2010 (the 52-week range for each share is $58.46-
$7_6.54), Brodsky owns at least g worth of Exxon~Mobil shares, which could easily be
used to satisfy thejudgment. §§§ Ex. L (Cornputershare’s lnformation Subpoena Response); Ex.
N (Wall Street lournal Stocl< Price lnt`ormation for Exxon-Mobil).

21. ln addition to the Exxon-Mobil stock, Brodsl~;y’s ownership of several other blue
chip stocks and financial assets show that she can pay the amount owed. Por example, she owns

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more than m worth of shares in the Walt Disne_v Company and more than" Worth of
shares in General Electric Company. She also owns two Manhattan apartments (with no
mortgage). §§§ E.)<.O (Dep. at 16:24~17:3; 25:3, 4, 12-15).

Garnishee Computershare Currentlv Possesses Brodskv’s Exxon-Mobil Shares And

Should Be Ordered To Sell $13,290.40 Worth Of The Shares To Satisfv Tl)e Judgment
(Including Statut`orv Interest And The Shcriff Fees)

22. Garnishee Computershare-is the third-party agent that maintains Brodsky’s
Exxon~lvlohil stock holdings w

23. Computershare has various office locations, including New York (199 Water
Street, 26‘h Floor, New York, New Yorl< 10038) and Massachusetts (250 Royall Street, Canton,
l\/IA 02021).

24. Computershare is “in possession or custody of money or other personal property
in which thejudgment debtor has an interest.” C.P.L.R. § 5225(b). Approxirnately 7,500 of the

over 8,296 Exxon-Mobil shares belonging to Brodsky are “plan shares” held by Computershare

 

in electronic form in an account for Brodsky, S_eg Ex. L (Computershare’s lnformation
Suhpoena Response).

25. Under C.P.L.R. § 5225(1')), Cornputershare is “required{d] . . . to pay the money,
or so much of it as is sufficient to Satisfy the judgment, to the judgment creditor and, if the
amount to be so paid is insufficient to satisfy the judgment, to deliver any other personal
property, or so much of it as is of sufficient value to satisfy the judgment, to a designated
sheriff.”

26. Under C.P.L.R. § 5225(b) and well-established caselaw, the judgment can be
satisfied in full through a turnover order that directs Cornputershare to sell a portion cf the shares

back to the issuing corporation (Exxon»l\/lobil) that would result in the payment ot`the amount
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Dear Slr -»" t\/la€jam'

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a copy of Whlch is enclosed for your convenience

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Snt;.poonas ‘/‘Je l<mdl~ ask that you submit a cheek -o Comotnarshare m tl‘-e amount clStO,Z‘§, accompanied by a

copy or this letter.

  

Oor records sno.v:hat account number ii , was establlsned with a credit of certificate number *
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ss <Dn March 31 ;01.0 the account held é‘,j§§“- all shares

 

      

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Case 1'17-Cv-03186-A.]N-.]LC Document 16-1 Filed 08/29/17 Page 32 0

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EXHIBIT E

 

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te\. 212,306.7100
fax 2|2,306_7143
www.nyccfb,info

New York City
Campaign Finance Board
40 Reccor Streer, New York. NY |0006

Bv First-Class Certifled Mail
February 8, 2010

Charles Schwab Bank
Post Off`lce Box 521 14
Phc)enix, AZ 85072
Attn: Legal Unit

Filed 08/29/17 Page 34 Of 100

joseph P. Parkes. S` j.
Chair‘man

Ar: Chang

Rl`chard ]. Davis
Ka:heryn C. Paccerson
Mark S. Piam
Members

Amy M. Lopresc
Executive Director

Shauna Tarshis Denkensohn
Deputy Executive Director

Sue Ellen Dode{l
Ger\er’a| Counse}

Re: Brodsky et al. v. New York Cifv Campai,qn Fz'nance Board. Index NO. 1 18316/06 (N.‘(.
Sun. Ct. June 27` 2007`), aj?"’d, 869 N.Y.S.Zd 508 (lst D€D’f 20081

To whom it may concem:

Enclosed please find the Restraining Notice, Exemptiou Notice, and two Exemption

Claim Forms in the above"referenced matter.

 

P]ease contact me at (212) 306-5261 if you have any questions_

Sincerely,
§ __.)¢ “ K

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Enc.

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§<CH`K/VAB

Office Of Corporate Counsei
§11 l\nain Street, San Francisco. CA 94105`1905
rel (8/7) 243-9263 Fe)< (888) 368»6355

February 12, 2010

\/IA USPS FIRST~CLASS i\/iAlL

MERYL BRODSKY &

CAROL BRODSKY

372 CENTRAL PARK \/\/ APT iOU
NE\/\/ YC\RK NY 10025

f`<`E: C~;zrnishment er. r"\c~'_:ourzt Nc~{~'e`) m
Dear Client(s):

C‘narlee Schvvab Banl< (“Schwab Bani<”) has received the enclosed garnishment As required by
law Schwab Bank has frozen assets in the above referenced account(si up to the amount
specified in the garnishment and disclosed it to the proper authoritv.

Pieese read the enclosed copy of the garnishment carefully Be aware that the restrictions placed

on your eccount(s) may adversely affect your ability to trade securities, make withdrawals, end use
account features As a courtesy, Schwab Bank has enclosed an E><planarion Of a Gam/`shment Sheet to
help you understand how the garnishment affects your account(s). Please be advised that if Schwab
Bank receives instructions from the court to turnover assets Schwab Bank will be required to
forward the specified g_n_wunt. A $35.00 fee Wii| be charged to your account(s) to cover our garnishment
processing costs if you have a pcrtfoiio manager or financial plenner, you should advise them cf the

restrictions on your account

Schwat) Banl< regrets having to take this action, but We must follow the command of the court
Piease COntaCt the Creditor`$ attorney listed On the enclosed garnishment if you have further questions

Fcr the Firrn,

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i_eura Carnerc
i\/ianager, Office of Corporate Counsel
Cherles Schweb & Co., inc.

Fax (888) 368~6355

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charles §chwah & Co.. inc i\'iernner SlPC. ~ 134

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EXPLANAT|ON OF A GARNiSHN'|ENT

Charles Schwab Banl< ("Schwab Banl<”) is required by law to immediately comply with the instructions
issued by a court or government agency As a courtesy to our clientsl Schwab Bank offers the following
information to help you understand how a garnishment affects your account(s}. This is not intended to be
legal advice You should consult With an attorney for assistance with this matter. Enclosed is a copy of the
garnishment With a letter explaining the actions Schwab Bank has been required to take with your
account(s),

What is a oarnishment?

A garnishment is a document issued by a court or government agency that has legal authority to collect a
debt Schwab Banl< is required by law to comply with a valid garnishment Gamishments have various
titles lncluding, but not limited to Citation to Discover Assets, Garnishment, Restraining Notice, Notlce of
Attachment, Writ of Attachment, Writ of Execution, & Writ of Garnishment.

Hovl/ does this affect my account(s) With Schwab Bank?
The garnishment requires that Schwab Banl< freeze assets equal to that of the garnishment amount in
addition, the garnishment may require that:
o the cash amount to be held is double or triple that of the garnishment amountl
o daily interest accrue on the garnishment amount; and/or
¢ Schwab Bank disclose certain information about any restricted account (e,g. current balance,
account numbers etc.)

Possible actions Schvval:) Bani< may take include:
o holding all assets in account
» blocking of any VlSA debit cards
¢ prohibiting any outstanding checks, automatic debits, and/or wire transfers from posting and
having them returned as unpaid
halting of any pending outgoing wire transfer
holding all interest in account

 

After a waiting period specified in the garnishment Schwab Banl< is required to turn over available assets
up to the full amount demanded in the garnishment This waiting period can vary Widely so you are
advised to read the garnishment carefully in order to understand the specifics of your situation

lf you wish to resolve this matter before assets are removed from your account(s) or if you have additional
questions contact the judgment creditors attorney listed on the enclosed garnishment A $35.00 fee will

be charged to cover Our processing costs.

This garnishment is an error What do /o‘o?
Schwab Banl< can only acton directions issued by the court or government agency that issued the

garnishment Therefore, you must contact the judgment creditor's attorney if you feel this garnishment
has been issued in error. A release of garnishment must be issued and sent Schwab Bank to have the

restrictions removed

How long Will my account(si be restricted?
Restrictions on your account(s) Wiii remain until:
1. Sufficient assets are turned over to satisfy the garnishment or
2_ Schwab Bani< receives a release (e.g, Notice of Satisfaction, Notice to Vacate, etc.) from same
the court or government agency that issued the garnishment

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in the Matter of the Application of

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MERYL BRODSKY MARK FEINSOT, and ELECT Indcx No. i183i6/O6
MERYL BRODSKY TO CH`Y COUNCIL 2005,

Hon. Eilccn A. Ral<ower
Petitioners,

ii NEW Y()RK CITY CAMPAIGN FINANCE BOARD,

Respondcnt/}udgmcnt Creditor. .'

§ RESTRAININC NOTICE

§ $~_

Sue Ellen Dcdeil, Generai Counsei

Hiilary Wcisman, Deputy Gencral Counsei
Jihee G. Suh, Associate Counsei

NEW YORK CITY CAMPAIGN
FINANCE BOARD

40 sector street 7"‘ Fioor

, Ncw York, New Yorl< 10006

` (212) 306~7100

f ' Atz‘o)'neys for Respondent/Judgmeni Credr`ror
New York Ci!y Campaign Finance Board

 

 

 

 

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SUPREME COURT OF THE STA'I`E OF NEW YGRK
COUNTY OF NEW YORK `

 

1a the Mattcr of the Application of

MERYL BRODSKY, MARK PEINSOT, and ELECT RESTRAINING NUTlCE
MERYL BRODSKY To CtTY coUNciL 2005, ;

Petitioners, Index No. 118316/06
y. Hon. Eilecn A. Rakowcr
NEW YORK CITY CAMPAIGN FINANCE BOARD,

Respondent/.iudgment Creditor.

Z><:

 

 

RE: Mery1 Brodsky
THE PEOPLE OF THE STATE OF NEW YORK

To: Charles Schwab Bank, Gamishee,

 

Address: Post Officc Box 52114
Phoenix, AZ 85072

GREETIN GS:

WHEREAS, in the above entitled action between Petitioners Meryl Brodsky, Mark
Feinsot, and Elect Meryl Brodsky tc City Council 2005 (thc “Comtnittce”) (collectively,
“Pctitioncrs”) and Rcspondcnt New York City Campaign Finance Board (the “Board”), a
judgment was entered in the Suprcme Court of the State of New York, New York County,
on August 31, 2009, in favor of Respondent Boatd, judgment creditor, and against
Pctitioners, including l\/Ieryi Brodsky (“Brodsky”), judgment dcbtor, in the aggregate

amount Of $35,8$0, of which $11,875 from remains due and unpaid

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WHEREAS, it is believed that you are in the possession or custody of certain
property in which the judgment debtor has an interest to wit: High Yicld investor
Chccl<ing Account #4400l5571241 and other accounts of the judgment debtor, and the
account balances thereof, under the name “Meryl Brodsky”; and

WHEREAS, no previous restraining notice has been Served upon you concerning

' thisjudgment pursuant to Articic 52 of the Civii Practice Law and Rulcs.

Now TAt<;i~: NoTicE: that pursuant co cPLR § Szzzrb), a copy of which is set
forth below, you are hereby forbidden to make or suffer any salc, assignment or transfer
of, or any interference with, any property of the judgment debtor or pay over or otherwise
dispose of any debt to thejuo’gment debtor to any person other than the sheriff except
under direction of the sheriff or pursuant to order of the court, until the expiration of one

year after this notice is served upon you, or until thcjudgmcnt is satisfied or vacated,

 

whichever event occurs first;

SECTION 5222(13’) OF THE CIVIL PRACTICE LAW AND RULES

(b) Et`f€ct of restraint; prohibition of transfer; duration A judgment debtor or obligor
Serv€d with a restraining notice is forbidden to make or suffer any sale, assignment,
transfer or interference with any property in which he or She has an interest, except as set
forth in Subdivisions (h) and (i) ofthis section, and except upon direction cf the sheriff cr
pursuant to an order of the court, until the judgment or order is satisfied or vacated A

restraining notice served upon a person other than the judgment debtor or obligor is
effective only if, at the time of scrvicc, he or she owes a debt to the judgment debtor or

obligor or he or she is in the possession or custody of property in which he or she knows or
has reason to believe the judgment debtor or obligor has an interest, or if the judgment
creditor or support collection unit has stated in the notice that a specified debt is owed by
the person served to the judgment debtor or obligor or that the judgment debtor or obligor
has an interest in specified property in the possession or custody of the person served All
property in which the judgment debtor or obligor is known or believed to have an interest
then in and thereafter coming into the possession or custody of such a pcrson, including
any Sp€<§it`icd ih thc noticc, and all debts of such a pcrson, including any specified in thc
noticc, then due and thereafter coming due to the judgment debtor or obligor, shall be

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subject to the notice except as set forth in subdivisions (h) and (i) of this section Such a
person is forbidden to make or suffer any sale, assignment or transfer of, or any
interference with, any such property, or pay over or otherwise dispose of any such debt, to
any person other than the sheriff or the support collection unit, except as set forth in
subdivisions (h) and (i) of this section, and except upon direction of the sheriff or pursuant
to an order of the court, until the expiration of one year after the notice is served upon him
or her, or until the judgment or order is satisfied or vacated, whichever event first occurs
A judgment creditor or support collection unit which has specified personal property or
debt in a restraining notice shall be liable to the owner of the property or the person to
Whom the debt is owed, if other than the judgment debtor or obligor, for any damages
sustained by reason of the restraint Ir" a garnishee served with a restraining notice
withholds the payment ot` money belonging or owed to the judgment debtor or obligor in
an amount equal to twice the amount due on the judgment or order, the restraining notice is
not effective as to other property or money.

(h) Effect of restraint on judgment debtor‘s banking institution account into which
statutorily exempt payments arc made electronically or by direct deposit.
Notwithstanding the provisions of subdivision (b) of this section, if direct deposit or
electronic payments reasonably identifiable as statutorily exempt payments as defined in
paragraph two of subdivision (l) of section fifty-two hundred live of this article were made
to the judgment debtor's account during the forty-five day period preceding the date that
the restraining notice was served on the banking institution, then the banking institution
shall not restrain two thousand live hundred dollars in the judgment debtor's account li`
the account contains an amount equal to or less than two thousand live hundred dollars, the
account shall not be restrained and the restraining notice shall be deemed void. Nothing in
this subdivision shall be construed to limit a banking institutions right or obligation to l
restrain or remove such funds from the judgment debtor‘s account if required by 42 U.S.C.
§ 659 or 38 U.S,C. § 5301 or by a court order. Nothiug in this subdivision shall alter the
exempt status of funds that are protected from exceution, levy, attachment, garnishment or
Olhcr legal proCcSS, under section fifty~two hundred five of this article or under any other
provision of state or federal law, or affect the right of a judgment debtor to claim such
exemption

(i) Ei`i`ece of restraint on judgment debtor’s banking institution account A restraining
notice issued pursuant to this section shall not apply to an amount equal to or less than the
greater of two hundred forty times the federal minimum hourly \vage prescribed in the Fair
Labor Stanrlards Act of 1938 or two hundred forty times the state minimum hourly wage
prescribed in section six hundred fifty-two or" the labor law as in effect at the time the
earnings are payable (as published on the Websites of the United States department of labor
and the state department of labor) except such part thereof as a court determines to be
unnecessary for the reasonable requirements of the judgment debtor and his or her
dependents This amount shall be equal to seventeen hundred sixteen dollars on the
effective date of this subdivision and shall rise to seventeen hundred forty dollars on July
twenty-fourth two thousand nirre, and shall rise thereafter in tandem With the minimum
Wage. Nothing in this subdivision shall be construed to limit a banking institutions right
or obligation to restrain or remove such funds from the judgment debtor's account if

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SUPREME COURT OF THE STATE OF NEW Y_ORK

COUNTY OF NEW YORK
-~ X

In the Matter of the Appl`xcation of

MERYL BRODSKY, MARK FEINSOT, and ELECT : Index NO. l 183 } 6/06

MERYL BRODSKY TO ClTY COUNCIL 2005,
Hon. Eileen A. Rakower

Petitioners,

M

’ NEW YORK CITY CAMPAIGN FINANCE BOARD,

Respondent!}udgmen_t Creditor. :
X

 

§ ____

 

f RESTRAINING NOTICE

 

 

 

 

 

Sue Ellen Dodell, General Counsel

Hi}lary Weisman, Deputy General Counse!
Jihee G. Suh, Associate Counsel

NEW YORK CITY CAMPAIGN
HNANCEBOARD

40 Rector Street, 7"‘ F!oor

, New York, New York 10006

‘ (212) 306-7100

f ’ Afto:‘rzeys for Respona'ent/Judgment Credz'tor
New York City Campaz'gn Fz`nance Board

 

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required by 42 U.S.C. § 659 or 38 U.S.C. § 5301 or by a court order. Where ajudgment
debtor’s account contains an amount equal to or less than ninety percent of the greater of
two hundred forty times the federal minimum hourly wage prescribed in the F air Labor
Standards Act of 1938 or two hundred forty times the state minimum hourly wage
prescribed in section six hundred fifty-two cf the labor law as in effect at the time the
earnings are payable (as published on the websites of the United States department of labor
and the state department cf labor), the account shall not be restrained and the restraining
notice shall be deemed void, except as to those funds that a court determines to be
unnecessary for the reasonable requirements ofthe judgment debtor and his or her
dependents Nothing in this subdivision shall alter the exempt status of funds which are
exempt from execution, levy, attachment or garnishment, under section fifty-two hundred
five of this article or under any other provision of state or federal law, or the right cfa
judgment debtor to claim such exemption

TAKE FURTHER NOTICE, THAT DISOBEDIENCE OF THIS RESTRAINING
NOTICE OR FALSE SWEARING, OR FAILURE TO COMPLY WITH THIS
SUBPOENA, IS PUNISHABLE AS A CONTEMPT OF COURT.

WITNESS, Honorable Eileen A. Rakower one ot`the justices of the New York
State Supreme Court, at the courthouse in the County of New York, On February 8, 2010.

Dated: New York, New ¥orl<
Febmary is`, ZGZU

,~. /l

 

Hiliary We m£i/Deputy Geh`eral Counsel
Jihee G. S h, Assoeiate General Counsel
New Y City Campaign Finance Boatd
40 Rector Street, 7‘11 Floor

New York, NY 10006

(212) 306~7100

Attorneysfor the Judgmem Creditor
New Yor/c Cz'ij) Campaz`gn Finance Board

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STATE 05 NEW YORK, COUNT`Y OF New York SS:
I, Ji.hee Suh , W being duly sworn, says: that tim deponent is net a pnny
hereln, is over 18 years of age and iesrt!§ atNYC Campaign Finance Board, 4 0 Re.ccor Street ,

7t.h Floor, New Yorl< , bi”! 10006

That on February 8 , 2 010 al No.

deponent served the within restraining notiee. exemption notice and two exemption claim forms on
Charles Schwab Bank, Legal Unit

mem the banking institution therein named, by delivering a true copy thereof to
s. l:l personally Whom deponent knew to be the
of said insiimriont deponent knew the banking institution se served re be said barrieng institution

mm by mailing a copy ofszune, accompanied by a copy in a securely sealed posipaid wrapper properly addressed to
31 Charles Schwab Bank , Legal Uni t

im in Post: Office Box 52214 , Phoerzi>c, AZ 850'72- 9714

mud (a) by registered maii, return receipt requested Deponent delivered said wrapper to the Regisrry Clerk at the

mem post office and paid the requisite fee. Retum Receipt No, is attached hercto.

 

 

      
   

(b) by certified mull, return receipt request@._l)eponent deposited said wrapper with the requl§!e postage
and return receipt card affixed iri-a post office-official depository under the care and custody of the United
States Postal Service within the Scare of New York. Return Receipt No. ”7 mile 3 ‘is"D 0003 $'3§*’»\ l"i`¢':?

is attached hercto.

Deponerit describes the individual served as follow ' A‘)/]$“

L'__l Male l:l White Skin fl Black H ' White Hair {'_1 14-20 Yrs. 1:1 Under 5‘ l:l Under lUO l_,bsA

ft female 13 stack sun m wm nmi l:i naming miss Yrs. i:i 5'0"-5'3" l:l morse Lbs
‘=:l Yellow ` l:l Blonde Hair l:l Mustache 1:136-50 Yrs. L_r` 5'4“-5’8" U l31-l6{) Lbs,

Skin l:l Gray lia'\r [:l Be:lrd D51-65 "."rS. l:l 5`9"-6'0" 1:1 161-200 Lbs.

Recl Sldn 13 Red Hair l:l Glasses []Over 65 Yrs. L:l Over 6’ l:l Over 200 Lbs_

identifying features:

 

  
    
  
   
 
 

 

      
  

   
   

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/ _ _
swammbqroremwnnew rerk, m ""‘i$'r`r`,}!"'""`aL£}){I€i§};é`i'i}`re,` L/cezvse~o
February 8, 2010 Jih Soh

firdex No.

 

 

 

 

       

Besi'rairtirtg C‘"§lntice, ziE:cempiinn Bntir:e and Y:eemptinn Tluim §Hnrme

 

 

 

 

 

 

Meryl Brodsky, lvlark Feinsc>\;, and Elecl: Meryl

Brodsky to City Council 2005 LAWOmCES OF
Flain!i_§?.r) A fmmey(s)for
against Ojljice and Post Ojice Address
New York Cit;v Campaign Finance Board thee Sug‘. ASS(.)clate Cmmgel
(Judgment Cr“editor) NYC Campalgn Flnance Board
` 40 Receor St:reet, 7t:h Ploc>r
Defe,mm($) New yorl<, New Yorl< 10006

 

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cv 03186 A.]N-.]LC Document 16-1 Filed 08/29/17 Page 44 of 100

 

l-' SCHl/VAB

'Office Of Cmporate Counsel
211 l\/|alo Street. San Frahcisco. CA 94105-1905
Tel t877) 243-9263 Fa;< (883l 368-6355

February 12, 2010

VlA USPS FlRST-CLASS l\f'lAlL

MERYL BRODSKY
372 CENTRAL PARK V\! AF’T lOU
NEW YORK NY l0025

RE; Garnishment oh Account No(sl_ w

Dear Cllent(s);

trades Schwab Banl< (“Schwab Banl<") has received the enclosed garnishment As reguired by

C
law Schwab Bank has frozen assets in the above referenced account§s) up to the amount
specified in the garnishment and disclosed it to the proper authori_ty_.

Pleaso read the enclosed COpy Of lite garnishment carefully Be aware that the restrictions placed
oh your accouht(s) may adversely affect your ability to trade securities, make withdrawals, and use
account features As a courtesy Schwab Banl< has enclosed ah Explanatlon of a Gamishment sheet to
help you understand how the garnishment affects your account(s). Please be advised that if Schwab
Bank receives instructions from the court to turnover assets Schwab Bank will be required to
forward the specified amount. A $35.00 fee will be charged to your account(s) to cover our garnishment
processing costs lf you have a portfolio manager or financial planner, you should advise them of the
restrictions on your account

Schvvab Banl< regrets having to take this actloh, out we must follow the command of the court
Please contact the creditors attorney listed on the enclosed garnishment if you have further questions

For the Firm,

w /Z&/z%y

l_aura Carhero

lvianagc.', On’ice cf -';Dorpora:c Cc'unsei
Charles Schvvab & Co., inc

Fax (888) 368-6355

Enclosures

L`.har\es Scl`»v.'at) tit Co., inc lvlemoer SlPC.

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SUPREME COURT OF THE STATE OF NEW YORK

 

COUNTY OF NEW YORK
ln the Mat'ter ~c;;t-he Application of 'X
MERYL BRODSKY, MARK FEINSOT, and ELECT RESTRAINING NOTICE
MERYL BRODSKY TO CITY coUNCrL 2005,
Petitioners, Index No. 1 18316/()6
v. Hon. Eileen A. Rakower

NEW YORK CITY CAMPAIGN FINANCE BOARD,
Respondent/Judgment Creditor. :

----- X

 

RB; Meryl Brodsky
THB PEOPLE OF THE STATE OF NEW YORK

To: Charles Schwab Bank, Garnishee,

 

Adclress: Post Offxce Box 52114
Phoenix, AZ 85()72

GREETINGS:

WHEREAS, in the above entitled action between Peritioners Meryl Brodsky, Mark
Fcinsot, and Eiect Meryl Brodsky to City Council 2005 (the “Conunittee”) (colleetively,
“Petitioners”) and Respondent New York City Campajgn Finance Board (the “Board” , a
judgment was entered in the Supreme Court of the State of New York, New York County,
on August 31, 2009, in favor ofRespondent Boand, judgment creditor, and against
Petitioners, including Meryl Brodsky (“Brodsky”), judgment debtor, in the aggregate

amount of $35,850, of which 311,875 from remains due and unpaidA

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WHEREAS, it is believed that you are in the possession or custody of certain
property in Which the judgment debtor has an interest, to wit: High Yield investor
Ch€€l<ing Account #440015571241 and other accounts of the judgment debtor, and the
account balances thereof, under the name “Meryi Brodsl<y"; and

WHEREAS, no previous restraining notice has been served upon you concerning

` thisjudgnient pursuant to Articie 52 of the Civil Practice Law and Rules.

NOW TAKE NOTICE: that pursuant to CPLR § 5222(b), a copy of which is set
forth below, you are hereby forbidden to make or suffer any sale, assignment, or transfer
of, or any interference with, any property ot` the judgment debtor or pay over or otherwise
dispose of any debt to the judgment debtor to any person other than the sheriff except
under direction of the sheriff or pursuant to order of the court, until the expiration oi` one

year after this notice is served upon you, or until the judgment is satisfied or vacated

 

whichever event occurs iirst:

SECTION 5222(!3`) OF THE ClVIL PRACTICE LA`W AND RULES

(b) Effect of restraint; prohibition of transfer; duration A judgment debtor or obligor
served With a restraining notice is forbidden to make or suffer any sale, assignment,
transfer or interference with any property in which he or she has an interest, except as set
forth in subdivisions (h) and (i) of this section, and except upon irection of the sheriff or
pursuant to an order of the court, until the judgment or order is satisfied or yacated. A
restraining notice served upon a person other than the judgment debtor or obligor is
effective only if, at the time of service, he or she owes a debt to the judgment debtor or
obligor or he or she is in the possession or custody of property in Which he or she knows or
has reason to believe the judgment debtor or obligor has an interest, or if the judgment
creditor or support collection unit has stated in the notice that a specified debt is owed by
the person served to the judgment debtor or obligor or that the judgment debtor or obligor
has an interest in specified property in the possession or custody of the person Served. Ali
property in which the judgment debtor or obligor is known or believed to have an interest
then in and thereafter coming into the possession or custody of such a person, including
any Sp€€ified in the notice, and all debts of such a person, including any Speoified in the
notice, then due and thereafter corning due to the judgment debtor or obligor, shall be

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subject to the notice except as set forth in subdivisions (`n) and (i) of this section Such a
person is forbidden to make or suffer any sale, assignment or transfer of, or any
interference with, any such propezty, or pay over or otherwise dispose of any such debt, to
any person other than the sheriff or the support collection unit, except as set forth in
subdivisions (h) and (i) of this section, and except upon direction of the sheriff or pursuant
to an order of the court, until the expiration of one year after the notice is served upon him
or her, or until the judgment or order is satisfied or vacated, whichever event first occurs
A judgment creditor or support collecu'on unit which has specified personal property or
debt in a restraining notice shall be liable to the owner of the property or the person to
whom the debt is owed, if other than the judgment debtor or obligor, for any damages
sustained by reason of the restraint if a garnishee served with a restraining notice
withholds the payment of money belonging or owed to the judgment debtor or obligor in
an amount equal to twice the amount due on the judgment or orcler, the restraining notice is
not effective as to other property or money

(h) Effect of restraint on judgment debtor’s banking institution account into which
statutorily exempt payments are made electronically or by direct deposit
Notwithstanding the provisions of subdivision (b) of this section, if direct deposit or
electronic payments reasonably identifiable as statutorily exempt payments as defined in
paragraph two of subdivision (l) of section fifty-two hundred five of this article were made
to the judgment debtor‘s account during the forty-five day period preceding the date that
the restraining notice was served on the banking institution, then the banking institution
shall not restrain two thousand five hundred dollars in the judgment debtor’s account lt`
the account contains an amount equal to or less than two thousand five hundred dollars, the
account shall not be restrained and the restraining notice shall be deemed void. Nothing in
this subdivision shall be construed to limit a banking institutions rightor obligation to
restrain or remove such funds from the judgment debtors account if required by 42 U.S.C.
§ 659 or 38 U.S.C. § 5301 or by a_ court order, Nothing in this subdivision shall alter the
exempt status oi" funds that arc protected from execution, levy, attachment, garnishment or
other legal process, under section fifty-two hundred five of this article or under any other
provision of state or federal law, or affect the right of a judgment debtor to claim such
exemptionl

(i) Eft"ect of restraint en judgment debtor’s banking institution account A restraining
notice issued pursuant to this section shall not apply to an amount equal to or less than the
greater of two hundred forty times the federal minimum hourly wage prescribed in the Fair
Labor Standards Act of 1938 or two hundred forty times the state minimum hourly wage
prescribed in section six hundred fifty-two of the labor law as in effect at the time the
earnings are payable (as published on the websites ofthe United States department of labor
and the state department of labor) except such part thereof as a court determines to `be
unnecessary for the reasonable requirements of the judgment debtor and his or her
dependents This amount shall be equal to seventeen hundred sixteen dollars on the
effective date of this subdivision and shall rise to seventeen hundred forty dollars on July
twenty-fourth two thousand nine, and shall rise thereafter in tandem with the minimum
wage Nothing in this subdivision shall be construed to limit a banking institutions right
or obligation to restrain or remove such funds from the judgment debtor's account if

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required by 42 U.S.C. § 659 or 38 U.S.C. § 5301 or by a court order. Where ajudgment
debtors account contains an amount equal to or less than ninety percent of the greater Of
two hundred forty times the federal minimum hourly wage prescribed in the Fair Labor
Stanclards Act of 1938 or two hundred forty times the state minimum hourly wage
prescribed in section six hundred fifty-two of the labor law as in effect at the time the
earnings are payable (as pubiished on the websites of the United States department of labor
and the state department of labor), the account shall not be restrained and the restraining
notice shall be deemed void, except as to those funds that a court determines to be
unnecessary for the reasonable requirements of the judgment debtor and his or her
dependents. Nothing in this subdivision shall alter the exempt status of funds which are
exempt from execution, levy, attachment or gamishment, under section fifty-two hundred
five of this article or under any other provision of state or federal iaw, or the right of a
judgment debtor to claim such exemption

'I`AKE FURTHER NOTICE, THAT DISOBEDIENCE OF~THIS RESTRAYNING
NOTICE OR FALSE SWEARING, OR FAILURE TQ COMPLY WITH THIS
SUBPOENA, IS PUNISHABLE AS A CONTEMPT OF COURT.

WITNESS, Honorable Eileen A. Rakcwer one of the justices of the New York
State Supreme Court, at the courthouse in the County oi'New York, on Februaiy 8, 2010.

Dated: New Yorlc New York 17
February 8, 2010

 

Hiliary W mz£i,/Deputy Generai Counsel
Jihee G. S , Associate General Counsel
New Y City Campaign Finanee Board
40 Rector Street, 7m Floor

New York, NY 10006

(212) 306*7100

Attorneysfor the Judgmen! Credz'x‘or
New York Cz'ty Campaz'gn Fincmce Board

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S'I`ATE OF NEW YORI(, COUNTY OFNew York §S;
I, J:`Lhee Suh, m eing duly swan says: that the deponent is not a party
herein, is over 18 years of age and reard§ et NYC Campaign Finance Board, 4 0 Re<: tor S treet,

7t,h F].oor, New York, l\“.‘Y 10006

That on February 8 , 2 01 0 al No.

deponent served the within restraining notice exemption notice and two exemption claim forms on
Charles Sehwab Bank, L~egal Uni t

common the banking institution therein named, by delivering a true copy thereof to
i. l;l personally whom deponent knew lo be the

of said institution deponent knew the banking institution se served so be said banking institution

wives by mailing a copy of same, accompanied by a copy in a securely sealed poslpaid wrapper properly addressed to
31 Charles Schwab Baril<, Legal Unit:

aig at Post: Ot`fice `Box 52214, Phoenix, AZ 85072~ 97 14

mem (a) by registered mail, return receipt requested Deponent delivered said wrapper to the Registry Clerk at the

mem Md paid the requisite fee. Return Receipt No. is attached hereto

 

(b) by certified muil. return receipt requested Deponent deposited said wrapper with the requisite postage
and remm receipt card affixed iri-a post oft`ice-~ofhcial depository under the care and custody of the United
St;xtes Posta_i Service within the Srate of New York. Return `Receipi No. '7606) 3 ‘iS"O OOO,Q §33¢{ \€Q

is attached hereto.
/o/,¢i

Whiie Hai~: [:i 14~20 Y'rs. l:_l Under 5' Cl Under lO()Lbs.
wm Hai§~ ij ending mei-35 YrS. \:1 5'0"*5'3" Ei 100-130 Lbs
l:] Blonde i'iair l:l Mustache l:l36-5O Yrs, [i 5`4"~5'8" [:l l3l~l60 Lbs.
Skin [:l Gray Hair l:] Beard Cl$'l~§§ Yrs. [:l 5'9"-6'0" l:l 161-200 Lbs.
Red Skin l] Red Hair l:l Glasses l:lOver 65 Yrs. [] Over 6' l:l Over 200 Lbs.
identifying features

   
   

 

    

Deponent describes the individual served as follow '
13 Male l:l White Skin (:l Black H '
lj Female ij Black Slcin l:l

l:l Yellow `

    
  
   
 
 

/"'\ A»"` : H

 

       
      
 

l)edex No.

   

 

i Swomio beforeme andrew rork, NY ""'Ii>`r'i)ii'!Hih'.`€r§;£é}i}'re,"""" LICENSENO
February 8, 2010 Jih- -" Suh

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Bestrnining C'aniee, B::empfinn Y€nfice unit ‘§E.xemniinn Clnim glicrms

Meryl. Brodsky, Mark Feinsoi:, and Elect Meryl

 

 

 

 

 

 

Brodsky to Cit:y Council 2005 LAWOFHCES OF
P!aimzzms) At!or)ie}'(s)far
against O_‘)jice and Po$! O_§ice Addresi‘
New Yorl< Cit;y Camnaign Finance Board thee Suh'. ASSC.)C]'ate Counael
(Judgment Credico;__) NYC Campa;ign Flnanc:e Boarci
40 Rect;oz‘ St:reet, 7th Floor
Defendam(s) New York, New York 10006

 

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MERYL BRoDSKY
150 EAST 615T STREET, #ii-K
NEW YoRK, NEW YORK 10021

TELEPHoNE/FAX: (212) 866-2105
EMAIL: me§yl7@verizon.net

F_ebruary 14, 2010

By FaX and i\/lail

Office of the Corp. Counsel
Charles Schwab & Co., Inc.

211 Main Strcct

San Francisco, California 941()5

Dear Sir or Madam:

lt has come to my attention that my Schwab brokerage and bank accounts, as Wcll as a bank account
co-owned With Carol Brodsky, my mothcr, Were garnished in the amount of$l 1,875.0() as of Fcbruary
ll, 2010. lam attempting to stop Withdrawal of funds from the bank account, as Wcll as the execution
and sale of stock retained in my brokerage account Thcrc is a pending appeal against the action of the
Nevv York City Campaign Finance Board, 40 Rector Strect, NcW York, N .Y. 10006 in the Matter ofthe
Applicatl'on ofMeryl Brodsky, et al., Pefz`tioners/judgment Deblors v. New York Cz'ly Campaign
Finance BoarcL Respondent/Judgment Credizor, luch No. 118316/06, Suprcme Court oi`thc State of
New York, County of Ncw York. Thc Noticc of Appcal (attachcd) seeks to vacate the judgment and
has already been docketed in the Appellate Divisioii. Pleasc note that the Dccision and Ordcr as Wcll
as the amounts owed, if any, arc currently in dispute l Would appreciate the opportunity to speak to
someone in your legal dcpzuiment about this matter at your earliest convenience and can be reached at
212-866-2015.

Pursuant to the laws of New York, CPLR 312(), l am herewith requesting production ofthe following
documents:

1. A true and complete copy ofthc Subpocna Servcd on Charles Schwab, 1360 'l"hird Avenue, New
York, Ncw York 10075 by the New York City Campaign Financc Board requesting the bank and

brokerage accounts of Meryl Brodsky, indicating the datc, party(ies) served and the exact documents
produced.

2. A true and complete copy of the legal judgment or explanation attached to the subpoena

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Page TWo
Charles Schvvab

3. True and complete copies of the documents produced t`or inspection by the New Yorl< City
Campaign Finance Board of statements of bank and brokerage accounts of l\/Ieryl Brodsky
and the bank account of Carol Brodsky, including but not limited to:

Brokerage Account NO. n Name: Meryl Brodsky
Bank Account No. “ Name: Meryl Brodsky
Banl< ACCOUIH NO-“ Narne: Carolv Brodsky

Further, please see a tax statement of l\/Ieryl Brodsky that certifies l, l\/leryl Brodsky, am the owner

of said accounts Please provide production of the documents and a copy of the subpoena issued by the
New Yorl< City Campaign Finance Board as soon as available, but no later than fifteen (15) days from
the date of receipt of this letter together with the costs of reproduction of the copies. You may reach
Meryl Brodsky by mail at the above letterhead address, or at 372 Central Park West, Apt_ 10-U, New
York, New Y011< 10025; telephone (212) 866 2105; email: meryl7@ven`2:on. You may also contact
counsel for Petitioner Meryl Brodsky: Leo Glickman, Esq., Stoll, Glickman & Bellina LllP 7l
Nevins Street Brooklyn, New York 11217 phone (718) 852 3710;. .; "
If further legal steps are required we Will act accordingly Although this development has
inconvenienced both Charles Schwab as a non-party as Well as myself, to avert any future problems,
please provide the requested information which is critical to discovery in this case.

 

YourS truly,

Meryl Br sk`y

//j/r/w fa )_lrl» ;4l4/

ccc Leo Glickman, Esq.
Attachinents

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MERYL BRODSKY
150 EAST 61Sqr sTREET, #11-1<
NEW YoRK, NEW YoRK 10021
TELEPHONE/FAX. (212) sss 2105

EMAIL § ;l~

 

M,arch 11, 2010

BY FAX

Oftice of the Corp. Counsel

Charles Schwab & Co., lnc., c/o Laura Carnero
211 l\/Iain Street

San Francisco, California 94105

To Whom it rnay concern:

1 have received a letter that you have been subpoenaed to produce documents in the Matter
of the Application ofMeryl Broclsky, et al. Pelitioners/Judgment Debtors v. New YOrk Cl'lj/
Campaign Fz`nance Board, Respondem/Jz.¢dgment Credilor, lndex No. l 18316/06. There is
currently an appeal pending in this case which includes motions to quash all such subpoenas
The relevant documents include Brokerage account No. MB (Meryl Brodsky); Bank
Account No. w (Meryl Brodsky); Bank Account No. w (Carol
Brodsky).

Further, the New Yorl< City Carnpaign Finance Board has never made a request to any court for
permission to subpoena such accounts nor do they have any legal right to such information
Please see the attached documents Please do not produce any documents to the NeW York City

 

Campaign Finance Board pending the resolution of this niatter.

Yours truly,

W/-./g/L f ?.:/l ,`/;:/4, Z//’éY'//r.r./'
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Mei"yl B

Attachments

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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK

ln the l\/.latter of the Application of

~ ~~~~~~~~~~ X

l\/lERYL BRODSKY, MARK FEINSOT, and ELECT : index No. 118316/06

l\/lERYL BRODSKY TO CITY COUNCIL 2005,
Hon. Eileen A. Ral<;ower

Petitioners,
SUBPOENA DUCES TECUM
V.
Regarding: Meryl Brodsl<y

NEW YORK CITY CAl\/IPAIGN FINANCE BOARD, : (Judgment Debtor)
Respondent/Judgrnent Creditor.

X

 

 

THE PEOPLE OF THE STATE OF NEW YORK

To: Charles Schwab Banl<
Oflice of Corporate Counsel
211 Main Street
San Francisco, CA 94105-1905
Attn: Laura Carnero, Manager

 

GRl;hll INGS:

WHEREAS, in the above entitled action between Petitioners Meryl Brodsky, l\/larl<
Feinsot, and Elect Meryl Brodsky to City Council 2005 (the “Cornrnittee”) (collectively,
c‘I?’ctitioners”) and Respondent/Judgment Creditor New York City Campaign Finance Board (the
“Board”), a judgment Was entered in the Snpreme Court of the State of New York, New York
County, on August 31, 2009, in favor of Respondent Board, Judgrnent Creditor, and against
Petitioners, including l\/leryl Brodsl<y (“Brodsky”), Judgrnent Debtor, in the aggregate amount of
$35,850, of Which 511,875 remains due and unpaid;

NOW, THEREFORE WE COMMAND YOU, pursuant to N.Y.C.P.L.R. §§ 5223,

5224(21)(2) to produce certain books and papers for examination on Tuesday, March 23, 2010 at

152

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the offices of the New Yorl< City Campaign Finance Board, 40 Rector Street, 7th Flobr, New

York, New York 10006, to wit, copies of any and all of the following records:

1) Periodic (i.e., monthly) account statements from August l, 2009 to the present date for
High Yield lnvestor Checking Account No. ~l (of Meryl Brodsl<y), which
show, among other transactions, account balances, withdrawals transfers, and deposits;

7) Copies of checks drawn on High Yield Investor Checl<ing Account No. mt
(of Meryl Brodsl<y) from August 1, 2009 to the present date;

3) Copies of checks or money orders depositing funds to High Yield investor Checking

Account No. m (of Meryl Brodsl<y) from August l, 2009 to the present date;

4) Written correspondence and records of telephone communications between l\/[cryl
Brodsky and Charles Schwab Banl<, from February 9, 2010 to the present date,
concerning High Yield investor Checking Account No. ~ and/or other
Charlcs Schwab accounts of Meryl Brodsl<y; and

5) Periodic (i.e., monthly) account statements from August 1, 2009 to the present date for
any other personal Charles Schwab accounts of l\/Ieryl Brodsl<y (including but not limited
to Schwab One brokerage account and Checking Account wl which show,

among other transactions, account balances, withdrawals, transfers, and deposits

TAKE NOTICE that false swearing on such examination or failure to comply with this

subpoena is punishable as a contempt of court.

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WITNESS, Sue Ellen Dodell, General Counsel, ofthe New Yorl< City Campaign Finance

Board, at 40 Rector Street, 7th Floor, New Yorl<2 New York 10006, on l\/larch 5, 2010.

Dated: March 5, 2010

Jihee G. uh, Associate Counsel

Hillar eisrnan, Deputy General_ Counscl
New orl< City Campaign Finance Board
40 Rector Strect, 7th Floor

New York, Ncw York 10006

Al‘tomeysfor Responcierzz‘/Judgmem Credz`tor
New York Cl`l‘y Campaz'gn Fz`ncmce Board

 

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SUPREME COURT OF THE S"l`A”l`li OF NEW YORK

 

 

COUNTY OF NEW YORK
_________________ -_l, _ X
ln the Matter of the Application cf ~
MERYL BRODSKY, MARK FEINSOT, and ELECT : lndex No. 118316/06
MERYL BRODSKY TO ClTY COUNCIL 2005, :
Hon. Eileen A. Rakower
Petitioners,
SUBPOENA DUCES TECUM
v.
_ Regarding: l\/Ieryl Brodsl<y
NEW YORK. ClTY CAl\/IPAIGN FINANCE BOARD, ; (Judgment Debtor)
Respondent/Judgmcnt Creditor.
_ _________________ §§

 

THE PEOPLE ()F THE STATE OF NEW YORK

To: Charles Schwab & Co, lnc.
211 Main Street t
San Fra.ncisco, CA 94105~1905
Attn: 'l`hird Party Actions

GREETIN GS :

WHEREAS, in the above entitled action between Petitioners Meryl Brodsky, l\/iark

Feinsot, and Elect Meryl Brodsky to City Council 2005 (the “Committee”) (collectively,

~“Petitioners”) and Respondent/Judgment Creditor New Yorl< City Campaign Finance Board (thc

“Board”), a judgment was entered in the Suprenie Court.of the State ofNew Yorl<, New York
County, on August 31, 2009, in favor ot`Respondent Board, Judgrnent Creditor, and against
Petitioners, including l\/leiyl Brodsl<y (“Brodsky”),- Judgment Debtor, in the aggregate amount of
335,850, of which $11,875 remains due and unpaid;

NOW, THEREFOR.E WE COMMAND YOU, pursuant to N.Y.C.P.L.R. §§ 5223,

5224(a)(2) to produce certain books and papers for examination on Wednesday, March 31,

155

Case 1:17-cv-03186-A.]N-.]LC Document 16¢1 Filed 08/29/17 Page 57 of 100

2010 at the offices of the New Yorl< City Campaign Finance Board, 40 Rector Street, 7 th Floor,

New York, New York 10006, to wit, copies of any and all of the following records:

1) Periodic (i.e., monthly) account statements from August l, 2009 to the present date for
any and all C_harles Schwab brokerage accounts of Meryl Brodsl<y (including, but not
limited to, brokerage accounts ending with or containing the partial account numbers

““’ or ““”), which show, among other transactions, account balances,

withdrawals transfers, and deposits

TAKE N()TICE that false swearing on such examination or failure to comply with this

subpoena is punishable as a contempt of court.

WITNESS, Sue Ellen Dodell, Gcneral Counsel, of the New Yorl< City Carnpaign Finance

Board, at 40 Rector Street, 7th Floor, New York, New Yorl< 10006, on l\/Iarch 23, 2010.

Dated: March 23, 2010 %%
Jihc]:{@/§uh, Associate Counsel
Hil 'y Weisrnan, Deputy General Counsel
New Yorl< City Campaign Finance Board
40 Rector Street, 7th l"loor

New Yorl<, New Yorlc10006

Az‘tomeysfor Respondent/]udgmenz‘ Credz`tor
New York Cz'ly Campaign Fz`nance Board

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Notes to Schwab Garnishment

Garnishment of Meryl Brodsky’s and joint owner’s Schwab Bank and HSBC accounts show
negative balances on February l4, 2010 of $23,750 due to the board’s garnishment but failure to
execute any assets in the requisite time period often days pursuant to CPLR § 62l2;

a) The total amount of the two Sehwab()ne Bank Account garnishments equalled
(~)$11,875 plus (-)S11,875 or (-)$23,750, that represents more than two times the
amount of the alleged debt of $9,875.00.

l. The “minus” number corresponding to the first Name, lnvestor Checking
under “Available Balance” represents a garnishment of (-)$9,034.18 plus
(-`)$2,840.82 (see next page) Which was available in the account but garnished

The Activity line says that this transaction is “pending.” A total of
(-)$11,875.00 was garnished from the first account on February 14, 2010.

2. The “minus” number corresponding to the second Name, investor Checking under
“Available Balance” represents a garnishment of (-)$l 1,775.00 plus (-)$100.00 (see
next page) which Was available in the account but garnished. The Activity line says
that this transaction is “pending.” A total of (-)$l 1,875.00 was garnished from the
joint account on February 14, 2010.

b) l\/leryl Brodsky and joint owner’s HSBC bank accounts were also garnished on February 10,
2010 due to the return of Schwab Bank checks for insufficient funds on February 16, 2010;

c) Schwab Bank’s release of the two restraints on l\/lervl Brodskv and ioint owner’s bank and
brokerage accounts followed Brodsky’s phone call to Charles Schwab & Co. on February 16,
2010;

l. The board’s garnishment violates CPLR § 5222 because as of February
14, 20l 0, it restrained three banks in less than a year: TD Bank, HSBC,
Schwab Bank individual and joint accounts Pursuant to CPLR § 5239,
l\/Ieryl Brodsky and the joint owner can intervene for adverse claims or
monies still in the board’s possession F

2. Further, Suh and Weisman violated 26 U.S.C. il 7431(3)(2) because all of
the prior information they subpoenaed and illegally disseminated was tax
return information, including:

o Boeing Corporation
Exelon Corporation
Xerox corporation

¢ Schwab Bank Account

157

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Accounts Summary

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1_ Sohwab Bank lnvestcr Checking and/or High Ycelcl Savings Balanceo are current as of today, but may not reflect recent transactions Schwab Banl< checking and
Savings accounts are also available without a brokerage account Ploose call 877-824»5625 for additional Sohwab Bank product information

(2007~4227)

Brokerage Products: Not FDlC lnsured - No Bank Guarantee ' May
Lose Value

Charles Schwab & Co., lnc. and Charles Schwal) Banlr are separate but alitllaled companies
and whollyewncd subsidiaries ofThe Chart% Schweb Corporalion. Brokerage products and
services are offered by Charles Sohwab & Co_, lnc. (Schwab Brokemge), Mamber

BQ. Depcsil and lending products and services are altered by Charles Sr:hwab Barrlt
Member FlJlC and Equa| Houslng Lender.

Banl< sweep accounts are generally held atCharles Schwab Banle Funds deposited at
Schwab Bank are insured by the Federa| Deposil lneurance Coiporatlon (FDIG) up to$ZSD.OOD
when aggregated with all other deposits held by you in me same capacity at Schwab Banlc
Funds on depositat Scnwab Bankare not deposits or obligations orCharles Sclrwab & Co.,
lnc. and may not be covered by the Securtlies lnvestor Pmteclr'on Corporation (SIPC). NOTE:
`me temporary increase of FDlC insurance coverage to 3250.000 for all insurable capacities
has been extended through Decemher 31. 2013. lt not further extended, FDlC coverage will
revert to $100,000 on .lanuary l, 2014 for all lnsurable capacities except lRAs and certain
other self_directed retirement aceounls and plans

The Bar\l< Sweep feature on your brokerage account is not subject to the FD|C’s Transaction

Account Guarantee Program` Customers with funds held in deposit accounts at Schwab Bam<
under the Bank Sweep program will continue to be insured until December 31, 2013_ for up to

158

Today‘s Dale: 02/14/10 10:17 PM EST

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Case 1:17-Cv-03186-A.]N-.]LC Document 16-1 Filed 08/29/17 Page 60 of 100

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HSBC m NOTICE oF RETURNED CHECK

 

 

 

 

 

 

 

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lf you have any questions regarding this matter, please call

 

 

 

 

 

 

 

 

 

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Case 1:17-Cv-03186-A.]N-.]LC Document 16-1 Filed 08/29/1'7 Page 61 of 100

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Ar;counls > Summary ,
Accounw Summary

§§ Brokerage Accounts

 

 

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Account Name Available Balance Owed Activity Next Steps {
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As of 02/16/10

- 1. Scnwau Banlr investor Cnecking and/or Hign Yieid Savings Ba!ances are current as of icday, but may not retlecl recent transactions_ Schwab Bank checking and
Savings accounts are also available wilburn a brokerage account Please call 877-824_6625 for additional Scnwab Bank product infonnattcn.

(2007~4?27)

Brokerage Products: Not FDIC insured ¢ No Bank Guarantee ~ May
Lose Value

Charlec Schwab & Co.. lnc; and Chartes Schwab Banlr are separate but afEHaied companies
and wholly»owned subsidiaries of The Charles Schwab Corporation. Brokerage products and
services are offered by Charles Schwab & Co., inc. (Schwab Brokerage), Mernber

S_iF'_Q Deposit and lending products and services are offered by Charles Schwab Banlc
Nlember FDlC and Equal Housing Lender.

Bank sweep accounis are generally held at Charles Schwab Banlc Funds deposited at
Schwab Bank are insured by the Federal Depos`rt insurance Corporaiion (FDiC) up to
3250,000 when aggregated with all other deposits held by you in the same capacity at .
Scnwab Banlc Funds on deposit at Schwab Banlr are not deposits or obligations of Charl%
Sclxwab & Co., lnc. and may not be covered by the Securities investor Protectx`on Corpomlion
(SlPC)_ NOTE: The temporary increase of FDIC insurance coverage to $250,000 for all
insurable capacities has been extended through Dex:ember 31, 2013_ if not further extended
FDIC coverage will revert to 3100,000 on January ‘l, 2014 forall insurable capacities except
lRAs and certain other self~directed retirement accounts and plans.

"il'ie Bank Sweep feature on your brokerage account is not subject to the FD\C’s Tmneaclion
Account Guanantee Frogram. Customers with funds held in deposit accounts al Schwab
Bank under me Bank Sweep program will continue to be insured until December 31, 2013. for
up to 3250,000 under the FDlC’s general deposit insurance rules_

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Today‘s r)are: 02116/10 02:48 PM EST

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Case 1:17-cv-03186-A.]N-.]LC Document 16-1 Filed 08/29/17 Page 63 01"100*'““" "

TD santa N.A.

Legal Depanment

1701 Route 70 East

Cheri'y f-Iill, NJ 08034

T: 888 751~9000 F: 856 874~2423

March 11, 2010

l\/leryl Brodsky
150 E 615‘ street ~Apt in<
New Yorl<, NY 10021

Re: |\/leryl Brodsky et al vs New Yorl< City Carnpaign Finance Board

Dear Account Hoider:

Enclosed please find a subpoena from Jihee G Suh requesting information pertaining to
your personal end/or business accounts Please be advised that you have 10 days to
tile a motion to quash With the court in the county from which the subpoena was issued
if we do not receive a copy of the motion from you or your attorney, the requested
information will be released Please tax your correspondence to 856-489~7016 as Well

as mail a hard copy to the address below:

TD Bank, N.A.

Legai Department
1701 Route 70 East
Cherry Hill, NJ 08034

if you should have any questions pertaining to this matter, please feel free to contact me
at (856) 470~6171 or Barbara Biderberg at (856) 470~6173.

Sincerely,

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TD Banl<, N.A.

Barbara J |Vlorgan
Custodian of Records

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Commerce Bank is a trade name ofTD Bank, N.A.

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MERYL BRODSKY
150 EAST 61ST STRE`ET, #l 1-K
NEW YORK, NEW YORK 10021
TELEPHONE/FAX: (212) 86&2105

 

March 12, 2010

BY FAX

TD Bank, N.A.

Attn. Barbata J. Morgan
Custodian of Records

Legal Depaztment

1701 Route 70 East

Chen'y Hill, New Jersey 08034

Re: Meryl Brodsky et al. v. New York City Campai,qn Finanee Board

Dear MS. Morgan:

'l`hank you so much for alerting me to the fact that certain records are subpoenaed
by the New York City Campai.gn Pinance Board. While l do not object to the production of the
particular documents in this case, l do regret the inconvenience these persons have caused you as
a non-party to this action.

l found the assistance at Cornrnerce Bani<, now TD Bank, very efficient, courteous
and helpful during the time that I held an account there hicidentally, my case is on appeal and l
have attached a brief document lf l can be of assistance to you during this ordeal, please do not
hesitate to contact me at 212- 866-2105 or email: n gm "' nw ;.;i:_.; t

You:rs truly,

!/\j/i_/ZJ£_,
Meryl rodsky j

Attaehment

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Case 1:17-cv-03186-A.]N-.]LC Document 16-1 Filed 08/29/17 Page 65 of 100

EXPLANAT|ON OF A SUBPOENA

Charles Schwab & Co., lnc. (“Schwab") has received a subpoena (copy enclosed) for records relating to
your account(s), As a courtesy to our clients Schwab offers the following information to help you
understand how a subpoena affects your account(s). This is not intended to be legal advice You should

consult with an attorney for assistance With this matter.

, What is a subpoena?
A subpoena is a formal, legal demand to turn over documents &/or information related to a legal action
While Schwab is not a party to this legal action, Schwab is subject to the subpoena because the
individuals or entities that are party to the action have accounts with Schwab. As custodian of those
accounts Schwab falls under the jurisdiction of the court Which the subpoena was issued and has legal
obligatlon to respond accordingly

Who issues a subpoena?
Any party to a legal action may issue a subpoena The issuer of the subpoena may be required to notify
you that your records are being requested State laws vary regarding the fulfillment ot these notification
requirements lt is your responsibility to become familiar with the laws of the State in which legal action
has been filed and to know if these requirements have been met.

How does this affecth account(s) With Schwab?
Schwab is required by law to produce the documents &/or information requested in the subpoena The
subpoena specifies a due date by which records are to be produced Since records are produced via U.S.
Mail or UPS, they must be sent from one to three business days prior to the due date in order to ensure
they are produced by the time specified in the subpoena

Can l prevent information about my account(s) from being turned over?
Often you have the right to object to the production of your records To do so you must file with the court
a lvlotion To Quash the subpoena ln order to notify Schwab that you are contesting the subpoena a copy
of the died motion should be taxed to (888) 368~6355. This must be done before documents are
produced To be sate, Schwab should receive the motion at least three business days before the due
date on the subpoena Once Sohwab receives a copy of the filed l\/lotion To Quash, we Will make every
effort to delay production of the records until the court issues a final order resolving dispute

Schwab is unable to give advice regarding how to file l\/lotion To Quash. Schwab is also unable to file a
l\/lotion To Quash or otherwise contest this subpoena on your behaif_ if you need assistance or advice
about how to properly contest the subpoena you should contact an attorney

Schwab has no authority to deviate from the demands of the subpoena without a filed Motion To
Quash, an order from the court, or written withdrawal of the Subpoena by the issuing party. A
simple letter or phone call to Schwab stating that you object to the production of your documents
will not suffice to quash the subpoena.

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Case 1:17-cv-03186-A.]N-.]LC Document 16-1 Filed 08/29/17 Page 66'0t 100

SUPREME COURT OF 'I`HE STATE OF NEW YORK
COUNTY OP NEW YORK

in the Matter of the Appiication of

 

MERYL BRODSKY, MARK FEINSOT, and ELECT Index NO. 1 18316/06

MERYL BRODSKY TO CITY COUNCIL 2005,
Hon. Eiiccn A. Rakowcr

 

Pctitioners,
SUBPOENA DUCES TECUM
v.
. charding: Meryi Brodsky
NEW YORK CITY CAMPAIGN FINANCE BOARD, : (Judgment Debtor)
Respondcnt/Judgment Creditor.
__ _______ _ _____ §§
THE PEOPLE OF THE STATE OF NEW YORK
To: TD Bank
1701 Route 70 East
Cherry Hill, NJ 08034-5400
GREETH\'GS:

 

WH.EREAS, in the above entitled action between Petiti.oners t\/ier_vl Brodsl<y, Mark
Fe§nsot, and Elect Meryi Brodsky to City Council 2005 (the “Committec”) (collcctivciy,
“Peti:ioncrs"`) and Rcspondcnt/Judgmcnt Crcditor i\iew Yori<; Ci‘ty Carnpaign Finance Boai'd (the
Bord\ ajud§rnent was entered in the Suprerne Coutt of the State ot`\iew Yori<, New York
Couzztj.', on _>\ugust 31, 2009, in favor of Rcspondcnt Board, J'udgmcnt Crcditor, and against

Pctiti.):tcrs, inciuding Meryl Brods_i<y (“Brodsl<y”), iudgment De`btor, in the aggregate amount of

ill

33 j"§§f,-_ i:»i"vvbic§'t $11,8'75 remains due and unpaid;
"»§-"='§{EREAS, the patty to whom this subpoena is directed has an office for the regular

transaction for business in the County of Ncw York;

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Case 1:17-Cv-03186-A.]N-.]LC Document 16-1 Filed 08/29/17 *Pagc,TST'LOT~IGOW“"“"““"“_"

NOW, THEREFORE WE COMMAN'D YOU, pursuant to N.Y.C.P.L.R. §§ 5223,
5224(a)(2) to produce certain books and papers for examination on Thursday, March 25, 2010

at the offices of the New Yorl< City Campaign Finance Board, 40 Rector Street, '7th Floor, New

York, New York 10006, to wit, copies of any and all of the following rccords.'

l) Periodic (i.e., monthly) account statements from Septernber l, 2006 to August l, 2007 for
Certificate of Deposit Account No. 109172355 (of Mcryl Brodsky) Which show, among
other transactions, account balanccs, Withdravvals, transfers, and deposits;

2) Any and all documents showing the total amount of interest earned on the Certificate of
Deposit Account No, 109172355 (of Meryl Brodsky);

3) Pcriodic (i,e., monthly) account statements from August l, 2009 through the present date
for any other personal TD Banl< accounts of Meryl Brodsl<y which show, among other

n'ansactions, account balances, withdrawals transfers and deposits

 

TAKE NOTICE that false swearing on such examination or failure to comply with this
subpoena is punishable as a contempt of court

WITNESS, Sue Ellen Dodell, General Counsel. ot` the New Yorl< City Carnpaign Finance

Board, at 40 Rcctor Street, 7{h Floor; -n\'e\;v York, N€W York l0006, On I\/larch 4, 20l0.

t%@/<
Hillary Wsman_. Deputy Gencral C'Ouns€l
finee (`. Suh_. Associate Counsel
New Yorl< City Carnpaign Financc Board
~th

-?0 Rector Street_. / Floor
l\YeW Yorl<, New Yorl< 10006

Dated; March ’~!, 2010

l'1’ttomeys]‘”0r Responderzz/Judgmen! Credl`tor
New York Cz'zy Campczz'gn Fl'rzarzce ,Board

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Case 1:17-cv-03186-A.]N-.]LC Document 16-1 Filed 08/29/17 Page 68 of 100

MERYL BRODSKY
150 EAST 613" STREET, #11-1<
NEW YoRK, NEW YoRK 10021

TELEPHONE/FAX: (212) 866-2105
EMAIL: mel_'yl7@veriz0n.net

Februaly 13, 2010

Customcr Service, Attn. Legal Representative
HSBC Bank USA, N.A.

Post Ofllce Box 2013

Buffalo, New York 14240

Dear Sir or Madam:

l have been a consumer at HSBC in New York City for more than 15 years. I Was notified by my
attorney that certain documents were subpoenaed by the New York City Campaign Finance Board,
40 Rector Street, New York, N.Y. 10006 in the Matter of the Application of Meryl Brodsky, et al,,
Petitioners/Judgrnent Debtors v. New York City Campaig,n Finance Board, Respondent/Judgment
Creditor, lndex No. ll8316/06, Supreme Court of the State of New York, County ofNew York.
Pursuant to the laws of New York, CPLR 3120, l am herewith requesting production of the
following documents:

 

l. A complete and true copy of the Subpoena served on HSBC USA, N.A. by the New York City
Carnpaign Finance Board requesting the bank statements of Meryl Brodsky, indicating the date,
party(ies) served and the number of past years documents Were produced lf the subpoena made a
demand to provide documents in the future, please supply that information

2. A true and complete copy of a legal judgment or explanation attached to Such subpoena

3. True and complete copies of the documents produced for inspection by the New York City
Campaign Finance Board of the Statements of Accounts of Meryl Brodsky including, but not
limited, to:

Account No. W --~ 739 Amsterdarn Avenue, NY, NY 10025
AccOuIlt NO. M --- 1165 Third Avenue, NY, NY 10065
Account No. M

Further, see three (3) bank statements that certify l, Meryl Brodsky, arn the owner of said accounts
as well as a copy of the Notice of Appeal in this action

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Case 1:17-cv-03186-A.]N-.]LC Document 16-1 Filed 08/29/17 Page 69 of 100

Page Two
February 13, 2010

Please provide production of such documents within twenty (2'0) days of this request to Meryl Brodsky
together with the cost of reproduction of such copies l can be contacted at the above address in writing

and by telephone: 212- 866- 2105; email:'.= _________ - Z.You may also contact my counsel, Leo
Glicl<man, Esq. if you have questions, at Stoll thl<man & _Bellina LLP 71 Nevins Street, Brool<lyn
New York 11217; phone (718) 852- 3710; 1 _ <_; 1; Iff\n'ther legal steps are

 

 

 

necessary, l will act accordingly Although this development has inconvenienced both you as a non~
party as well as me to avert such problems, please provide the requested documentation which

is critical to discovery in this case.

Youts truly,
ind ,

///:CLV ( :j,v¢ ¢'C/_%¢ /
Mer yl odsky /

cc: Leo Glickrnan, Esq.

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Case 1:17-cv-03186-A.]N-.]LC Document 16-1 Filed 08/29/17 Page 70 of 100

    

  

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Case 1:17-Cv-03186-A.]N-.]LC Document 16-
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SHERIFF’S CASE #: 1001 3326

LEVY; l HEHEB‘!' L.EW lo the e)<ienl necessary to satisfy lhe executionietlachmerit with interest Sharii*?s fees and expenses
upon any interest of the judgment debtor(e}/ defendant(s) named in the COPY of the execution/attachmem served upon you
heleww" m an P@r$Ona\ property Wh?¢?l iS in VOUl’ pGSSBSSlOl“s or custody and upon any debt you owe to the judgment debtor(s} 1
defendant(s)= nol specifically exempt from levy by law.

EFFEOT GF LE'W; This levy effects any existing debts which is past due, currently due or yei to become due certainly or upon
demand o?lhe judgment deblnr(s) f defendant(s), whenever lncr.rmecl, inciucllng any cause of action which san be asalgned o`r
transferred wherever aming, and any existing interest in personal properly which can he msignari or tl'ensferrecl. whether il
COHSSSB O‘F 3 Dr%€m 'f;\r future rigl_-l_t of interest and whether or not lt is vested including any dam or properly specified in an
accompanying ndli€¢r"and, il also affects me interest in properly hereafter coming into your possession or malady and all devis=

hereafter earning due from you w me judgment oemor(s) / defendant (s), mill you pay or transfer the debt or property la ilze` ’
Snerirf,

¥Ou AHE FQRBIDDEN BY LAW TO TRANSFER, PAY OvER, OR oTl-iEHWi$E DlSPOl§lE OF THE DlEBT QB PRQPERW»
50 LEVIED uP\i)hl AS HERE!NBEFORE SPEchlED TG ANY PERSON GTHER TrLAN THE erEFuFr-', ExcEp'r B‘l'
WRITTEN DlRECT`lON OF THE SHER¢FF. THE SHER|FF HAS AND CLA!MS A LIEN UPON THE LEVlED PRCF'ERTY FOR
ms s`rATu'l‘onv FEES AN:) PouNBAGE_ z v

DEMANDl: l HEREBY DEMAND that you furnish me ionhwitli with a STATEMENT, lN DUPLlG/-\TE, specifying the

 

amount add nature or any and all such property alike iudgment'clebior(s} f defendam{s}. including ina manll‘ii:y umw of dsbls. lF
YOU 80 NOT, ¥OU A_RE SL)E¢JECT TO EXAM!NAT!ON UNDER OATH B‘Y DIREC'HON bl= THE ¢CURT. =

DE|MND 2: ' ~'l HEREBY FUHTHER- DEMAND mat you forthwith transfer all such property and pay over to me all such davis
upon maturity and exe¢ule and dboument necessary lo effect rise transfer or paymem. if you do noi, you are subject to suil by
the judgment creditor/plaintiff to recover such properly or the armour-r1 of your indebtedness obligation or other accountability with ’
costs acid expensea. ~

DlSCHAHGE: 3th payment or transfer shall discharge you ler your obligation l>o lhe judgment debtor(s) /cleienclant(s)‘to
lhe extent of the payment or transfer THE AMOUNT OF $ (See aerng wHiQi-l iNCLuDEs sHERn'-’F’S FEES, POUNDAGE
ANU lNTEREST lS NlEGESSAl-`s`r’ TO SATlSFY THE EXEGUT!ON!ATTACHMENT. Mal<e checks payable to: SHEF!IFF OF THE
C\TY GF-‘ NEW YORK, and indicate the name and ease number o% the case wham remitting

DATED; May 20, 2c1 o

TOTAL AMOUN'¥` {S) DUE:
SHER|FF OF THE CITY OF NEW YORK

_ _ i_ _ ,_ 313,435.40
oequ sheriff mAlei-l RAMs€v 410
(212) 487-556&

mrs is A FiNAL DEMAND:

MAKE CHECK 'PAYABLE TO SHE.R\FF OF THE ClTY OF NEW YORK

N\'C Deparfmenf of Finance»£>ffice of the Sherifr -rryc=govmnance

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Case 1:17-Cv-03186-A.]N-.]LC Document 16-1 Filed 08/29/17 Page 72 of 100

MERYL BRoDSK¥
150 EAST 61Sl STREET, #il_x

an VoRK, an YoRK 10065
TeLePnoNe/mx= (212) 866-2105

EMA|L: mcgl7@verizon.net
November 30, 2010

PERSONAL AND CONFIDENTIAL

ComputerSharc
P.O. Box 43078
Providence, Rhode lsland 02940~3073

Re: Stock Accounts of Meryl Brodskv. Soe. See. item

Dear Sir or Madam:

Attchs.

Pursuant to NYCPLR 3 l20, l require information regarding my stock account as a
result of pending litigation against Jihee Suh and the New York City Campaign Finance Board.
Please forward answers to any, or all of the following questions, to Meryl Brodsky, 150 East 61St
Street, #l l-K, New York, New York 10065; Phone: 212-866»2105:

l)

2)
3`)
4)
5)

6)

the date a stop order was placed on the ExxonMobil account M) and
what other stocks were restricted;
the price of ExxonMobil stock on the execution date;

 

the exact number of,sh,aces of ExxonMobil sold on. the execution date;
the total liquidated value ofExxonMobil shares levied and sold; __
the exact date the liquidated shares Were turned over to the NYC sheriff and the
NYC Sheriff"s order; a copy of the cancelled check (both sides) returned to
ComputerShare in the amount of the liquidated shares;

a copy of the New York City Campaign Finance Board’s subpoenas, restraining/
garnishment orders, notice and levy/execution and motion papers regarding
unentered satisfaction of judgment; any other documents to the present date.

Please refer to the letters and account statement attached hereto You may forward the
required information to the above address within a reasonable amount of time as well as an
invoice for the cost of reproduction of any copies of the requested information Thank you.

Yours truly,

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Case 1:17-Cv-03186-A.]N-.]LC Document 16-1 Filed 08/29/17 Page 73 of 100
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Cnmpuoenshare limesth Servi¢:es
250 Royal| Street

December lO, 2010 garmon Mas$a¢husew 02021
www.computershare.com

i\/llSS MERYL BRCDSKY
150 E 61 STAPT 11 K
NEW YORK NY 10065'8527

Company llame: EXXON l`\'lOBii.. COF\‘POHATION / XOlVi

lio`.‘der Account llumber:

Reg~lstrat'i on: Mlss ltfle-ryl Brodsky

Cumpany Name: EASTMAl\i KODAK COMPANY / EKC
Holder Aceount Numbel':

Registr~at'i on: Meryl Bl'OClSKy

lie-ar MS. Brodeky:

Tnanl< you for your inquiry regarding the above referenced account We appreciate the opportunity to be of
service to you on behalf of Exxon i\/lobil Corporallon.

 

Our records indicate that the stem trade restrictions were placed on yourEastman nooal< Com party and Exxon
lvlobll Corporatlon accounts on April 14, 2010. On that date Exxon l\/lobil closed at $68.61 per share, and Eastman

Kodak closed al $7.81 per Share. On duly 22, 2010, 223 Shares were transferred from your Exxon Mobil account
to The New Yorl< City Sheriff's Offlce. We have enclosed a copy of the order We received on April 13, 2010.

Shoulcl you have any questions, please call us toll free at 1~800-252~1800. Our telephone representatives are
available ivlonday through Friday between'lhe hours of 8:30 Alvz and 5200 Plvt Eastem Time. lf you are calling from
outside of the US, please call collect at 1"781 ~575-2058. Pl_ease note that any available representative can assist

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Sincerely, ,,-i}" _
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Rodncy'DesseSaulo

Operations Specialist

Com putershare Shareholder Sen/ices

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_and manages as a transfer agent/third-party administrator.

 

Case 1:17-Cv-03186 /-\Jl\l JLC Document 1R 1

New ¥ork City
Campaign Finance Board

40 Recror Straet, New Yorl<, NY 10006
E cel. 2l2.306.7|00

tax 2l 2.306.7|43

www.nyccfb.lnfc)

By Certif'ted Mail
April 7, 2010

Computcrsharc

250 Royail Strcet
Canton, MA 02021
Attn: Legal Department

!Zi|orl 09/90/17 page YA. rif 100

joseph P. Parf<es, S. j.
Chairrnan

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Richard }. Davis
Kacheryn C. Parterson
Mark S. Piazza
Member$

Amy M. Lopresc

Executive Director

Shauna Tarshis Denkensohn
Deputy Exccutlve Dlrector

Sue Ellen Dode|l
General Counsel

Rc: Brodsky et a!. v. New York Ci'rv Camz)ai£n Finance Board. Index No. l 18316/06 (N'.Y.

Sut). Ct. June 27. 2007)\ aff’d. 869 N.Y.S.Zd 508_(ist DCD’t 2008)

To Whom lt May Concern:

I am writing on behalf of tlie New York Cin Catnpaign Finance Board, the Judgment

Creditor in the above~referenced matter. l have been informed that Me

ryi Brodsky, the

ludgment Debtor in the above-referenced case, owns certain stock which your institution holds

Theret`ore, l have enclosed,an information Subpocna with/RestrainingNotiw,

 

accompanying lnformation Subpoena Questionnaire (original and copy), and a prepaid addressed

envelope for you to respond to thc Information Subpoena Questionnairo

receipt of this letter.

Please note that pursuant to the Ncw York Civii P
is prohibited from making any sale, assignment, transfer of

within seven days of

tactice Law and Rules, your institution
or any interference with any or" the

property, such as shares of stock and dividends, specified in the enclosed lnformation Subpoena

with Rcstraining Notice.

Please contact me at (212) 306-5261 or i§gh@ y

n ccf'b.info if you have any questions or

need additional time to respond to the Information Su

Sincerely,

   

Associate Counsel

Enc.

bpoena Questionnaire. Thank you.

 

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Case 1:17-0\{¢03186-AJN-JLC Document 16-1 Filed 08/29/17 Page 75 of 100

 

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_Case 1

 

 

 

 

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Case 1

 

 

 

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SUPR§J¥\ ‘E 2 COURT ()§` "`;-"HE B".i.`A.':"E O§ I\FE“JJ \.’ORK
COU"‘TYC § I" EW YOF;{§ `
.,5-.,.,¢. .................. .,.,..L._. . _ -. w. jz.;f
fn hhs £\/`1'0‘.1‘¢:5 cf the App 500001-0:2`
uliERYL B.r<'.GD-S§€..Y, MARK `.'*`§H\¥SO"§`, 000 ELECT : 5000:< NO. § 13326/36
i.’\/EERYL BRQBSKY "i"C; Q§Tr‘z"" §OU`NCZL ZGS§, :
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1"’3‘/5'§ »“‘O." .’w 52"?,-) Campc::`j? Fi;€azec;) Bo¢z)'<i

 

 

 

 

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Ca<c: 1'17-0\/¢03186-A3N-JLC Document 16-1 Filed 08/29/17 Page 81 of 100

.`_,,

SUPREME COURT OP THE STATE OF NEW YORK
COUNTY OF NEW VORK

 

- X
In !he Matter of the Applicalion of ~
MERYL BRODSKY, MARK FEINSOT, and ELECT t index No. 118316/06
MERYL BRODSKY TO CITY COUNCIL 2005, '

; Hon. Eil€cn A. Rakower

Petitioners/}udgment Debtors, '
QUESTIONNA!RE

v, , : in connection with

: !NFORMATION SUBPOENA
NEW YORK CI'I`Y CAMPA!GN FINANCE BOARD, : WITH RESTRAINING

: NOTICE

Respondem/Judgment Crcdifor.
Regarding: Meryl Brodsky
(Judgment Debzor)

................... X

 

Pursuant to the attached information subpoena with restraining noxice, you are
hereby commanded to answer in a signcd, notarized writing, separater and fully, the
foi!owing questions:

:} ones Judgmem sewer Meryz Brodsky own shares ofscocz< of Easzman Kodak'
Company (hereina&er “Kodak")? lf'so;

 

 

a) ant is the current total vaiue of Ms. Brodsky’s holdings in Kodak?
b) How many shares does Ms. Brocisky currenin an?`
c) Since when has Ms. Brodsky owned ‘ihc Sharcs?

d) Are MS. Brodsky’s shares held by Kodak in book entry form? If so, what is the
name and contact information of the individual and/or third-party administrator
holding the shares in book entry fuml?

e) Who is hciding Ms. Brodsky`s Kodak stock cenificales - Ms. Brodsky, Kodak or a
third_party administrator? !f the stock certificates are being heid by Kodak or a
mini-parry administrator, what is the name and summer information of the
individual holding the stock certificates for Ms. Brodsky?

5 How many shares did Ms. Brods£<y own as of Mazch 3 I, 2010?
g) How many shares did Ms. Brodsfcy own as of February 28, 2010?

h) How many shares did Ms. Brodsky own as of January 31, 2010?

 

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i) Sincc laundry 1, 2009, has Kodai< paid any dividends to Ms. Brodsl<y? ii`so, what
is the date and amount of each dividend payment?

j) Has Ms. Brodsky elected to reinvest her dividends for additional purchases of
Kodak stock? 1 i` so, what percentage of her dividends has she elected to reinvest?

k) Sincc: Augusl 3i, 2009, has Ms. Brodsky said any shares and/or purchased
additional shares of Kodak? lt` so, what is the date and amount of shares involved
in each transaction?

i) What is Meryl Brodsky’s account number and/or investor identification number for
her Kodak hoidings‘?

rn) Does she own any shares jointly with Ca:oi Brodsky and/or Charlce Mae Brodsl<y?
Ii‘ so, how many shares does she currently own jointly? Who are the joint owners?

2) 15 the answer to Qucstion No. l of this questionnaire is “no”:
a)w ilas Meryi Brodsky ever owned shares of stock of Kodak? When?
b) When did she sell all of her remaining shams? How many shares did she sell‘?
c) When did she close her accounc?

3) Does ludgmem Debtor Meryl Brodsi<y own shares ofstocl< of ExxonMobil
Corporation (hcreinafxer “Exxon”)? ~ if so:

a) What is the current total value of Ms. Brodsky’s holdings in Exxon?

 

 

b) i~iow many shares does Ms. Brodsky currently own‘?

c) Since when has ivis. Brodslcy owned the shares?

d`) Are iv‘ls. Brodsi€y’s shares held by Exxon in book entry form'? If so, what is the
name and contact information of the individual and/or third-party administrator '
holding the shares in book enny form?

e) Who is holding Ms_ Brodsl<y’s Exxon stock certificates ~ Ms. Brodsky, Exxon or a
third-party administrator? l`f the stock certificates are being held by Exxon or a
third-party administrators what is the name and contact information of the
individual holding the stock certificates i`or Ms. Bmdsky‘?

t) How many shares did Ms. Brodsicy own as of March 31, 2610?

g) How many shares did Ms. Brodsky own as of Febmary 28, 2010?

h) How many shares did Ms. Brodsky own as oi`ianuaiy 31, 2010?

 

 

 

 

 

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Cage 1;17-CV-03136-AJN_11 (‘ r)nmmnnt 16-1 Fi|eo| 08/29/17 Paqe 83 of 100

i) Since January I, 2009, has Exxon paid any dividends to Ms. Brodsky'? Ifso, what
is the dale and amount of each dividend payment?

j) Has Ms., Brodsky elected to reinvest her dividends for additional purchases of
Exx<m stock? ff so, what pcn:enlage cf her dividends has she elected to reinvest'?

k} Sinc€ August 31, 2009, has MS. Brodsky sold any shares and/or purchased
additional shares of Exxon? Ifso, what is the date and amount of shares involved
in each transaction?

l) What is Meryl Brodsky’s account number and!or investor identification number for
her Exxon holdings?

m) Docs she own any shares jointly with Carol Brodsky and/or Charlee Mae Brodsky?
If so, how many shares does she currently own jointly'? Who are the joint owners?

4) ff the answer to Question No. 3 of this questionnaire is “no”:
a) Has Meryl Brodsky ever owned shares of stock of Exxon? When?
b) When did she sell all of her remaining shares? How many shares did she sell‘?
c) When did she close ncr account?

5) If the Judgment Creditor executes a levy on the shares of Kodak and Exxon stock

owned by'Mczyl Brodsky, to whom at Computershare should the Judgment Creditor
send the execution of the levy?

 

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,A.re you emma uf any usher a>sets possessed by Meryi Brodsky? if so, please de$cribo
these assets ' '

False swearing or failure to compiy with this information subpoena with restraining
notice and information subpoena questionnaire is punishable by contempt of sound

Rctum to Judgmem Creditor:

New York City Campaign Finance Board
40 Rector Street, 7m Floor
NCW York, New York 10006

Attn: Jihee Suh, Associate Coun$€l

 

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Case 1:17-cv-03186-A.]N-.]LC Document 16-1

BNY Mellon Sharcowncr Services

P.O. BOX 358333
Pittsburgh, PA 15252-8333

Septcmbcr 2 l , 2010

MERYL BRODSKY

372 CENTRAL PARK W APT lOU

NEW YORK NY 10025

Dear Investor:

Filed 08/29/17 Page 84 Of 100

 

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COMPANY
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§Nurnber

 

Thank you for your recent request for assistance with the above referenced account(s).

 

 

d Plcuse be advised that a Noticc end EXecution/Levy has been forwarded to us for handling from New
York City Carnpaign Finance Bourd. As per the request we have removed the block from the account

 

 

Also note that, we~havereissued the outstanding checks which you will receive within 7-10 business

 

 

days

Thunk you for the opportunity to assist you. As a reminder, you may access our lnvcstor ServiceDirect
Web Sitc at www.bnvmellon.com/shareowner/isd or call our automated voice response system at the
above number for account information and to initiate certain transactions You may also choose to speak
with one of our Customer Scrvice Representutives who arc available from 9 a.m. until 7 p.m. on

Mortday through Friday.

Sincerely,

BNY Mellon Shareowner Services

Page l oil

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Case 1:17-cv-03186-A.]N-.]LC Document 16-1 Filed 08/29/17 Page 85 of 100"#"" _`

BNY Mellon Shareovvner Serviees
P.O. Box 358333
Pittsburgh. PA 15252-8333

October 1, 2010

MERYL BRODSKY &
CAROL BRODSKY .lT TEN
150 E 61 ST APT l lK

NEW YORK NY 10065-8527

NEW YORK CITY

CAMPATGN FINANCE BROAD
ATTN: JIREE SUH

40 RECTOR ST

NEW YORK NY 10016

RE: ACCTS R/N/O MERYL BRODSKY &
CAROL BRODSKY JT TEN

Dear Investor;

 

 

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fo`a`r§if§é{l{'y""” CITADEL' "
;Name :BROADCASTING
CoRPoaATioN
ALCATEL~LUCENT
§Accoum ;BRoDsKY-_MERY_OIOO
§K@y f
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;Teiephone §'800~522~6645 w
§Number

 

Thank you for your inquiry requesting information for this account

Please be advised, as per your Written request to release the restraint or any turnover of l\/[eryl Brodky's
assets, BNY Mellon Shareowner Services has completed this process for Citadel Broadcasting
Corporation Alcatel-Lucent registered in the name of l\/Ieryl Brodsky.

We hope you find this information helpful lf you have additional questions, you may choose to speak
with one of our Customer Service Representatives Who are available from 9 a.ni. until 7 p.m. on

l\/Ionday through Friday at the above number

Sincerely,

BNY Mellon Shareovvner Services

Page l off

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MERYL BRODSKY
150 EAST 618']F STREET, #11-K

NEW YonK, NEW YORK 10065
TELEPHONE/FAX. (212) 866-2105
EMAIL:§ ' _ _- _ _. _..._

October 16, 2010

BNY Mellon Shareowner Services
Post Oftice Box 358333
Pittsburgh, PA 15252-83333

Re: Levv and Release of Shareholder Accounts of Mervl Brodsl<v

Dear Sir or Madam:

1 am in receipt oi` two (2) letters from your offices attached (Control Nos
BM and m$) regarding a Notice and Execution/Levy that has been
forwarded to you for handling by the New York City Carnpaign Finance Board, c/o Jihee Suh.
You have informed me that you will remove the blocks on the accounts of the following stocks:
Exelon Corporation and General Electric Company (Investor I.D. M); and the joint
accounts of Meryl and Carol Brodsky of Alcatel~Lucent; Citadel Broadcasting Company.

Pursuant to NYCPLR 3120, I would appreciate if you could mail or fax a copy of
Suh’s correspondence regarding the levy and release of any accounts of l\/leryl Brodsky and
Meryl and Carol Brodsky to the above address or fax number

l regret that the Respondent Jihee Suh may have caused you, a nonparty, both
harassment and expense

Yours truly,

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l\/leryl Brodsky /7

Attachments

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The @ALT®?§NEP Company

 

January 13, 2011

Meryl Brodsky &

Carol Brodsky Jt Ten
150 a 61 sr Api inc

New York NY 10065
Re: Account # “ Mei'yl Br-t dsky & Carol Brod sky Jt Ten
Dear Shareholder:

Per our telephone conversation this morning, l have enclosed a photocopy of the document we
received in order to remove the stop order from your certificates

'l`hank you for your interest in The Walt Disney Company. lf you have any additional questions
please contact our office at (818) 553-7200.

Sincerely,

 

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Shareholder Services

Encl.

500 doom tsuena vista S€reet. Bu.'bank California §1521-9722
"I'ei 818.553.7200 Fa>< 818.553.?210

.c',- Disney

 

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Case 1:17-cv-03186-A.]N-.]LC Document16-1 Filed 08/29/17

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SAMuEL P. SCHONFELD 11927-1954) 80 WAL.L STREET
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AND.=it-:A 1. wams‘r-:)N"'
-~ _, NEW YORK, NEW afoch 40005
MARK A. MACFAGN"
_. WWW.SCHONFEL_D~WE|NSTEIN.COM

',-.Ls.c Acmr._r~:o :.~.- s;;-.'/ ..:ERS£~,'

February 7, 2011

Sheriff of The City of hiew ";.('oi‘l:
Co'unty of Nev\' Yorl~’.

66 lohn St.

13“‘ Fi<>o:

New Yorli;v Nevv York 1000."5§~

RE: Sherit`fs Case # 10013326
'eryl Brodsl<y

Dear Sir:

Page 88 of 100

TELEFHGNE
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(2!2) 480'07|7
E~MA::_
;`oe¢@sc'riom'eldweinsteinch
andrea@$c?xcnfeld-v/einsrc~in.ccr::
keywan@schonietc-Weioswm.CCIT‘.

Please be advised that our finn resents i\/ieryl Brodsl<y and has been representing i\/leiriil

Brodsl<y for a period of time

M'y client wrote to you on Decernber 28, 2010. A copy of the letter is annexed hereto

10 date We have not received angr reply to this letter l Wo`ul=:l greatiy appreciate your

answering my client’s lettei‘_

 

Very truly yours,

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Joel Schonfeld

Encl.

IS/Ss

Brodslo_-',;vleryl/Slleritt“ ul the City' ci .\éc\\' ‘i'orlt' Ltr 2~7~1 l

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Case 1:17-cv-03186-A.]N-.]LC Document 16-1 Filed 08/29/17 Page 89 of 100

 

Decenibe: 28. 2010

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BY CERTLF 1139 l\/l.All,

Oi`iice of the l\iew Yoi`k Citj_" 311€3.`11_1"
Lavv Enforcement B'ureau

66 him sir@ei~ia“" rim

ch\.-' Yorl~:, Nevv' Yorlt 10038

Re: l`$lieril'"f's Case No. 10013823
Dear Sir or l\/iadan'i:

Pursuant to NYCPLR 3120 and as a result o_t` pending litigation against .lihee Suh and
the New Yorl< City Can'ipaign Finance Board at the l\lYS Appellate Division, First depaitment, 1
require information regarding the turnover of223 shares of E:\L‘:orul\/iobil stock to the l\lew Yorlr
City Sheri'r`f on or about luly 2010 Due to conflicting iin_"ormation7 l seek answers to any or all
oi" the following questions if it is in the purview of the i\l”` C She:-:iff’ s C;fi`ice to allow petitioner
to examine the tile please infonn ..r=.e atyour earliest coi'ivenience, l can be represented by
counsel in this request and will do so if necessary Please supply answers to any, or all of the
following questions and return to: i\»'leryl Brodsl;y, 150 East 61SI S“=:reet: #1 l-K, New Yorlc, l\levv
Yorlt 10065_; Pl‘ione: 212~866~210;'55

l) if 223 shares oi"Ex;~;i)ni\/lobil stocl-; were transferred ";o the l\lYC Shen`ff and the
exact date that such transfer took place_;

2`) if said stoclt was sold by the N`r`C Sheriff the exact date of execution of the sale
of stock and value ot the liquidated shares;

3) a coij of the NYC Sherift`*s orders and copies of any stock transactions that were
obtained;

4_) the authorized representative oi"aiiy depository to which the monies were transferred
and the exact date of such transference;

511 it`rhe stock was returned to any respondentv at the i\l\i'C Carnpaign Finance Bcard,

the name and address ot such person tc Wlioni the monies were delivered and the
date such delivery was inade;

61 the tract amoiuit of filierist fees and costs that were attaci'ied to the liquidated
value of the stock seized by the Sheriff; any related documents to the present date.

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Office or`ihe Ne'w York Ciry Sliei'iff
Deceinber 28, 20 l 0

n Please refer to the abovenienrioned Slierii"r"s Conn'ol Nuin`oer for reference Yon
may rorward the required ni_'forn;a»iion to the above address within a reasonable arnounr ofrime
as well as an invoice I"or tire cos‘z; of reproduction of any copies ofr'ne requested infonnation.
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EXHIBIT F

 

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_ ' 8/29/17
Case 1:17-Cv-03186-A.]N-.]LC Document 16 1 Fl|ed 0 Page l OH

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‘From: iris Roi;)er£$ ilRROBERT@coL.-rts.stait&ny.usi

;§en'z: Friciay, Junc~) 1i, 2010 2;54 Pi\/l

‘i'o: Jinoo Giiiien Suh

Cc: rsikorsi<i@bussonsil<orsl<i.com; ii@scnonield~weinsteincom

Subjsc&: Re.' Eroo'si<y et al v. NYC Campaign Finance Boarci ~ clarificaiion reques'ie<;l

`i'lne appearance is on the papers only, you don`t have to come is court l~iave a great weekeno.
iris

>>> "_iihe& Géilian Su`n" <JSuh@i\iYCCFB.INFO> 6/10/2010 11:47 AM >>> `

_ DSar ivis_ P.oberts,
i am writing to seek clarification on the notices We received via Ecour‘is concerning a Cour§: appearance
date on june 15, 2010. We understand from the conferrean this cast Tuesd,ay that Brocls!<y's
cpoosi"cion to ihs: Gm‘er to Sl'zow Cause for a turnover order is due on !une 15. is a court hearing
scheduled for that date? Having a hearing on the same date Wouid preclude us from being able to
review the opposition papers in advance Ado‘itionall\,i, we have a scheduiing confiic§r born Hiliai"\;
Weisman and |, the attorneys handling ina Brodsl<y matter for the NYC Campaign Finance Boaro, are
scheduled to be out of she office on june 15. ~
Thus, piease clarify whether the june 13 date is a hearing date, or return da‘ie only for Bro<isi<y's
opposition papers. Tiiank you.
Please note that i have cc’d the attorneys representing the minor parties on this e-maii.
Sest regards, . a
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Coniic:‘entiaiiiy Notice: This evmail communication Wi':l'i any aiiacl\menis, is confidential and may
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Petitioner Mark Feinsot Order to Show Cause and Quash the
Sllbpoena Ducés Tecum dated Apri123,2010 and Stipulation
to Postpone hearing boeause Ros endeni was on vacation
Aizhe.LA.S Pm g_Lofrhe ew York mm me 3 2010
Supreme Court New York County, at S©(p 9_ 206)
EGCentre Street, New York, New York, (plll lia
Apni §i____/_ 2010

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. ~ x lndex No. 1183]6/2006
fn the Ma'cter of the Application of

MBRYL BRODSKY, MARK FE]NSOT and
ELECT MERYL BRODSKY TO CITY COUNCIL 2005 `

Pet`itioners ’ .‘
ORDER TO SHOW CAUSE

-against-

NEW YOR_K CH`Y CA,MPA§GN FINANCE BOARD

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R&spondent_ _ »
/

/

Upon the Afiidavit of Mark Feinsot, sworn to on April 19, 2010, and the Exhibii;$ annexed

 

 

 

thereto;
or Cow\/Se[ atf/pew Q“A/

LET the Respondon show cause at an IAS Part l \ of this Court to be held at the
Couri:house located at§OQ Centre Street, New York, New York, Room ____011?°§7 the ~§_M§/¢ day of
:;;FEH, 2010, at 9:30 o'c~loc:l'< in the forénoon oftbat day or as soon lhereat’ter as counsel can be boards
Why an order should not be made and entered quashing the Su?)poena Duces Tecum,
directing Mark Feinsot to produce tax retums and documents of Meryl Brodsky to too Now York
City Campaign Finance Board
Why such other and furthei relief as to this Court`may seem just and proper should not be
entered

Ordered that pending the hearing a@é£emninmofthis motion, the enforcement ofthe

Subpr)ena is stayec}, and it is B.u~ther

 

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Ordered that pending the hearing aud.detei=eaéea&on of this motion, the Respondent, New
n Yorlc City Campaign Finanee Board, its agents or associates are both barred from proceeding with
any enforcement against Mark Feinsot5 Qu)/}
4 ~ 1 Suf§eient@exm having been sham therefor, let the Servlce of a conformed copy of dus
order and supporting papers upon which it is granted be good and sufficient if served by hand or
Federal E)cpress, next business day delivery, on or before April 13 , 2010 upon attorneys for b

Respondent, Ne{v York City Campaign Finance Boaxd, with offices at 40 Rec'cor Street, New York,

NeW York 10006.

`*~\

Justice Supren;e Com \°‘

-m.MAmowzn

 

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COLH\TTY OF NEW YORK
x , ._ '
' Index No. 1 183 115/2006
In the matter of the Application of ~
. MERYL BRoDsKY, MARK FEoISoT and eli aim _
ELECT MERYL BRODSKY TO CITY C‘O.UNSE£l 2005, Mfl§§ QAVI’I'- IN SUPPORT
Petitioners, CAQSE TO QUA.SH _
»agm.

NBW YORK CITY CAMPAIGN FINANCE BOARD,

Respondent.

X

 

sTA'nz ot NE'W YoRK )
) ss:
' CGUNTY oF NEW YORK. )

 

Mark Feinsot, being duly swoxn, deposes and says that l
1. Yom' deponent is a petitioner in the above captioned proceeding

BACKGROUND OF SU'BPOENA, OBQERS AND‘JQQGBIENT§ HEREIN

2. ` This affidavit is submitted in application for an Order to Show Cause to Quash a Subpoena
Duces Tecum which Was sent to your deponent by certified mail, a copy of which subpoena
is annexed hereto as Extnbit ‘A’. § d

3. No subpoena fee was tendered with the subpoena

4. . The subpoena herein seeks to enforce aJ udgment of this court. The initial deelsion and order

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of this com't.was docketed on Jnne 27, 2007, and a copy ofthe decision and order attached
hereto as Exhibit ‘B’.

5. A judgment Was sigaedby this oomt on Ju]y 17, 2007, a copy ofwhich is attached hereto as
noon ‘c’. `

- 6. Thereaner, ajudgmenr degende as a “oupncare vaginal ororder oath July.u, 2007" was

entered on August 31, 2009. A copy ofthe alleged ‘Duplicate ludgmen€ is attached hereto
as E)rhibit ‘D’§

7. A copy of the letter from the respondent’s counseL~ which accompanied the subpoerm, is

annexed hereto as Exhibit ‘E’.

'DOCUMENTS §OUGHT BY THE SUBPOENA

8. 'l"he Subpoena, Exhibit ‘A’, seeks the production by your deponent, Mark Feinsot, CPA, of
another parey’s personal individual tax rem of Mem Brodsky.

9. Your deponent is in possession of Meryl Brodsky’s individual tax returns as her CPA, and
not in relation to the NYC Campaign Finance Board. v b

10. 'I`he letter accompanying the subpoena, Exhibit ‘E‘, also states that the NYC Campaign

Finance Board is seeking a civil penalty of $470.00 from your deponent

THE DOCUMENTS SOUGHT. PERSONAL TAX DOCUMENTS. ARE PROTEC’I`ED
FROM DISCLOSURE BY THE FEDERAL AND STATE LAW

 

1 1. The personal tax returns herein are sought from your deponent not as a part of the underlying

.2.

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' proceeding instead the tax returns are sought as pan of the attempted enforcement of a _
judgment n
12. ~ ln the court’s original jndgment, Exln'bit ‘C’, your deponent was relieved from any liability
for the s470.00 penalty soughrey the NYo campaign steam sears ana your deponemhas
paid,. on behalf of the Brodsky To City Council 2005 committee the balance of the
.comznittee’s funds ($25,975.44), for the reimbursementjiue to the NYC Campaign Finance 4
Board, under this court’s order and decision of $35,\1500 This leaves a balance due to the
NYC Campaign Finance Board of $9,4.39.56.
13. Your deponent is not in possession of any funds of - the Brodsky committee, and your
deponent has no knowledge ofany other funds ofthe campaign committee which is available
lto make tliis payment, and under the earlier order of tln's court, your deponent has no liability
as a party or otherwise to the NYC Campaign Finance Board.
14. v As your deponent has no personal liability to the Respondent, as to documents sought under
the subpoena, your deponent is being subpoenaed as another party’s poisoned accoinrcant.
15. Client tax records in the possession of an accountant are protected from disclosure under
both federal and safe law, naming NYs nix nw §1331 ana me §7216.
16. To make matters Worse for an accountant or other party Who discloses tax records ci a
taxpayer lRC 7525 (a), the act ofimproper. disclosure is a misdemeanor`, IRC 7216 (a)(Z).
* v This is inthe nature ofan attorney violating a client’s privilege A client or a taxi)ayer alone,
not the attorney or accountant, has control over this information .'l`he accountant can-not be .
forced to disclose this information except in exceptional circumstances (usually criminal

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proceedings lRC 7525 (2)), and even then only under court order._

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~-»1-7.~ Undcr NYS Tax law §§038 (2),~ the accountant who disclosed a person’s tle information
Would be liable for civil damages

18. Such exceptional circumstances do not include third party debt collection

IN 'I'HE INSTANT PROCEE])}NQ SERVICE WAS
NOT MADE IN ACCORDANCE WI'I`H 'I'HE CPLR

 

19. - In the instant proceeding the debt collection was not against the accountant for any funds
owed by him, so this was an attempt to collect a debt &ozn a third party. The service ofthe
subpoena was not personal on the accountant and there was no subpoena fee. 'l'his results

in a defective and unenforceable subpoena

THE TWO JUDGM_EN§ S_ SOUGHT 1 0 BE QNFORCED ARE [N CONFLICT

 

20. 'Hae two judgments, copies of which are aitached, are described in the second order as
“Dupzi¢aze engine of order dated zuly 17, 2007”_. .Yer, both ordman deem com each
othcr.` '.l`his raises the question as to whether the second order can bc cr:¢forced1 It is claimed
to be a duplicate yet it clearly is not. lt seems that only the first judgment can be enforced,
as it is the original, and the other judgment should be vacated

_ 21. v AS for the documents sought in paragraph (Z)and (3) ofthc subpoena, these are documents

~ While not tax returrts, they would be related to the preparation oftax returns, .and therefore

they would be similarly protected Regardlcss, your deponent does not have any records

from the Taxpaycr (Ms. Brodsky’s) brokers or statements conceming the Taxpayer’s

.4.

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- - ~ individual stocks ~
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WHEREFORE, the subpoena compelling Mark Feinsot to deliver documents should be quashed

as it violates protections and privileges created by the Intemal Revenue code and the New York State

taxl,aw. . _ _ ,
. . l ' ../t’/Z/JL€`;/,r @Mj

Mark Feinsot

Sworn to before me this
19le day oprril 2010

 

BEREN{CE BUSSON
NOTARY PUBL|C Swle 05 N€M Yo‘fk
NO G'lBUSOSO?BS

Gua\tlied m New Y'ork County
Como\ission Fxoires luly 2, mill

 

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EXHIBIT A `

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